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                                                                   UNUM LIFE INSURANCE COMPANY OF
                                                                   AMERICA
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                                                                   PORTLAND. ME 04122




                      UNUM
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     Campus:        PTLD
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                                              LUCAS COUNTY COMMON PLEAS COURT
                                                          CORNER ADAMS & ERIE STREETS
                                                                TOLEDO, OHIO 43604
                                                                  SUMMONS
                                                               CIVIL ACTION
                                                 FILING TYPE:                   OTHER CIVIL




               UNUM LIFE INSURANCE COMPANY OF                                    G-480 1 -CI-0202204661-000
               AMERICA                                                           JUDGE: LORILOLENDER
               221 1 CONGRESS STREET
               PORTLAND, ME 04122


                      You have the right to seek legal counsel. If you cannot afford a lawyer, you may contact the Legal
              Services of Northwest Ohio. If you do not qualify for services by the Legal Services of Northwest Ohio and do
              not know an attorney you may contact the Toledo Bar Association’s Lawyer Referral Service (419) 242-2000.


                       You have been named as a defendant in a Complaint filed in this Court by the plaintiff named below. A
              copy of the Complaint is attached to this Summons.

                      You are hereby summoned and required to serve upon the plaintiffs attorney, or upon the plaintiff, if he
              has no attorney of record, a copy of an answer to the complaint, within twenty-eight (28) days after you receive
              this Summons, exclusive of the of the day of service or to an amended complaint within the remaining
              response time to the complaint or 14 days, whichever period may be longer. Your answer must be filed with the
              Clerk of Court of Common Pleas within three (3) days after the service of a copy of the Answer on the plaintiffs
              attorney.


                        If you fail to serve and file your Answer, judgment by default will be rendered against you for the relief
              demanded in the Complaint.

               PLAINTIFF (S)                                                  ATTORNEY FOR PLAINTIFFfS^

               AMY REMER                                                      JEREMIAH T RODRIGUEZ
               118 CRABAPPLE DR                                               PRESTON BUILDING
               SWANTON, OH 43558-841 1                                        3240 LEVIS COMMONS BLVD
                                                                              PERRYSBURG, OH 43551


                                                                                  BERNIE QUILTER
                                                                                  CLERK OF COURTS
               Date: December 20, 2022


                                                                                                                         , Clerk




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                                     IF YOU DO NOT HIRE AN ATTORNEY
                                                 PLEASE READ & RESPOND
                                                          (mark one & respond)




            J1   j   I request to be notified by email                           I request to be notified by regular mail
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                                                                    OR;
            My email address                                          1
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            Send email to: Lwatt@co.lucas.oh.us                           Return this Form with your address to:
            Subject:       G-4801-CI-0202204661-000                       Clerk of Court
            i              UNUM LIFE INSURANCE                            Lucas County Common Pleas Court
            COMPANY OF AMERICA                                            700 Adams
            Message:       Your email address                             Toledo, OH 43604




                                    If you do NOT hire an attorney & fail to respond
                           you will NOT receive notification of events related to this case

                                                 Case Information is available Online at:
                                                        www.co.lucas.oh.us/Clerk
                                                    click on the "Dockets Online" link



            Local Rule 5.05 H. SERVICE BY CLERK’S OFFICE Oncejournalized, the Clerk ofcourts Office will transmit
            the entries to the email address submitted by the parties. Counselfor a party or Pro Se litigant representing
            themselves who do not have an email address may, by motion, request ordinary mail service ofentries by the
            Clerk ofCourts Office.




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                            IN THE COURT OF COMMON PLEAS
                      i           LUCAS COUNTY, OHIO
                                     CIVIL DIVISION
                                                               G-4801 -CI-0202204661 -000
Amy Remer                                         Case No.:
118 Crabapple Dr.
Swanton, OH 43558^8411,
                                                  Judge:       Judge Lori L. Olender
               Plaintiff,

       vs.                                        COMPLAINT AND REQUEST FOR A
                                                  JURY TRIAL AND DECLARATORY
Unum Life Insurance Company of America            RELIEF
2211 Congress Street
Portland, ME 04122
                                                  Jeremy T. Rodriguez (0081495)
               Defendant                          irodriguez@allottafariev.com
                                                  Jonathan Winters (0089276)
                                                  iwinters@allottafarlev.com
                                                  Allotta [ Farley Co. L.P.A.
                                                  Preston Building
                                                  3240 Levis Commons Blvd.
                                                  Perrysburg, Ohio 43551
                                                  Telephone: (419) 535-0075
                                                  Facsimile: (419) 535-1935

                                                  Counsel for Plaintiff



       Now comes Plaintiff Amy Remer, by and through her attorneys, and for her complaint


against Defendant alleges and avers as follows:
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                                          I. PARTIES


       1.      Unum    Life   Insurance   Company    of America     (hereinafter,   “Unum”)   is    a


corporation located in Portland, Maine that is engaged in the sale of life and disability insurance


within the State of Ohio.


       2.      Plaintiff Amy Remer (hereinafter, “Mrs. Remer”) is a resident of the State of

Ohio, domiciled in the County of Lucas.

                               fl. FACTUAL ALLEGATIONS


       3.      Unum’s life insurance and disability contracts include group insurance contracts.


One such group disability policy, was sold to the University of Toledo.


       4.      The policy number for the group disability pohcy held by the University of


Toledo is Pohcy Number 953733 001 (hereinafter, the “Policy”) and was effective January 1,

2020. A copy of the Policy is attached hereto as “Exhibit A.”

       5.      Mrs. Remer was a full-time employee at the University of Toledo who initially


began working at the University in 2009 as a teaching assistant. She then worked as a part-time


instructor and Clinical Supervisor beginning in 2011 before becoming a full-time employee in


2013. Mrs. Remer is currently on unpaid medical leave with the University of Toledo.

       6.      As a benefit of her employment, the University of Toledo offered disability

insurance coverage through the Policy offered by the Defendant.

       7.      The Policy provides for the payment of benefits in the event of disability.         To


qualify for benefits during the first twenty-four (24) months following a disability, the Policy


requires Mrs. Remer to show that she (1) is unable to perform any of the material duties of her

regular job due to injury or illness, and (2) had a twenty percent (20%) or greater loss in her


“indexed monthly earnings” due to that same sickness or injury. After twenty-four (24) months,




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to remain disabled under the Policy Mrs. Remer must be considered unable to perform the duties


of any gainful occupation for which she is reasonably fitted by education, training, or experience


due to that same injury or illness.


       8.       The Policy defines “monthly earnings*’ under the Policy Section entitled, “What

Are Your Monthly Earnings?*’ in the following manner:


       “gross monthly income from your Employer, including shift differential, in effect just
       prior to your date of disability. It includes your total income before taxes. It is prior to
       any deductions made for pre-tax contributions to a qualified deferred compensation plan,
       Section 125 plan, or flexible spending account. It does not include income received from
       commissions, bonuses, overtime pay, or any other extra compensation or income received
       from sources other than your Employer.”


       9.       The Policy indicates that notice of a claim “should be sent within 30 days after the


date your disability begins.” However, it also provides that “you must send Unum proof of your


claim no later than one year after the date your disability begins unless your failure to do so is

due to your lack of legal capacity.”

        10.     In March of 2017, Mrs. Remer was diagnosed with stage 3 myxofibrosacoma in


her upper left arm. The cancer was discovered during a scan while she was pregnant with her

fourth child.   The discovery     prompted Mrs.      Remer to   undergo   twelve   (12)   weeks   of


chemotherapy, thirty (30) radiation treatments, and a radial section of her deltoid muscle in the


tissue around the cancerous area.


        11.     Following treatment and surgery Mrs. Remer returned to work with the University

of Toledo and was cancer free until 2019, when she had a recurrence of the sarcoma in the lymph

nodes above her upper left armpit. As a result, Mrs. Remer underwent another surgery and


additional chemotherapy and radiation treatments.


        12.     Mrs. Remer again returned to work following her treatment and surgery.


However, in the summer of 2020 she learned that the cancer had returned a third time. At this


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juncture, a scan showed she had two separate tumors growing in the upper left arm area. Her


medical team recommended that the best course of action was to perform a four-quarter


amputation. This type of amputation removes the entire arm, shoulder, clavicle, and scapula.


        13.    Prior to the surgery, Mrs. Remer discussed the matter with her employer, the

University of Toledo. Despite the severity of the surgery, Mrs. Remer was determined to resume

her normal activities, both personal and professional, as soon as possible following the procedure


and a time to adjust. Her employer agreed to work with her during her recovery and both parties


expected her to return to work. On September 7, 2020, Mrs. Remer underwent the four-quarter


amputation of her left arm.


        14.    After surgery, Mrs. Remer began looking for a customized robotic arm. Because


her health insurance company denied her claim, she was not fitted with a customized robotic arm


until the summer of 2021 .


       15.     Mrs. Remer remained in contact with her employer during this period and


continued to receive her regular salary. Both parties expected Mrs. Remer to return to work once


she adjusted to the new prosthetic limb.


       16.     Despite the new limb, Mrs. Remer continues to face challenges in her day-to-day


living, including both physical pain and mental health concerns. As result, in January of 2022


Mrs. Remer realized that she was unable to return to work at the same capacity she did prior to


the surgery.


       17.     Mrs.   Remer notified her employer of this       in January of 2022      and    was


subsequently placed on unpaid medical leave. Prior to this notification, Mrs. Remer had

continued to receive her regular salary from her employer.




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       18.     On April 8, 2022, Mrs. Remer filed a claim for long-term disability benefits under

the Policy with the Defendant.


       19.     Mrs. Remer also filed a claim for disability benefits under the Ohio State


Teachers Retirement System Defined Benefit Plan (hereinafter, the “Ohio STRS Plan). The Ohio


STRS Plan has a disability standard that is similar standard to the Defendant’s in that it requires


the participant to prove (1) a disabling medical condition that prevents the individual from


performing his or her most recent job duties; and (2) the condition is expected to last at least 12


continuous months from the date the Ohio STRS Plan receives the completed application. A

copy a brochure from the Ohio STRS Plan is attached hereto as “Exhibit B.” Mrs. Remer’s


application for disability benefits from the Ohio STRS Plan was approved on October 20, 2022.

       20.     On April 22, 2022, the Defendant notified Mrs. Remer that it was refusing to


consider her claim because it was not filed within one-year from her disability on-set date.


According to the Defendant, Mrs. Remer’s claim “should have been received no later than


September 8, 2021. Because we did not receive your claim by this date, we are unable to


complete a thorough review of your claim.” A copy of the April 22, 2022 denial letter is attached

hereto as “Exhibit C.”

       21.     Mrs. Remer filed an appeal on May 27, 2022. A copy of the May 27, 2022 appeal

letter is attached hereto as “Exhibit D.” In that appeal, Mrs. Remer requested that the Defendant


review her claim and pointed out the Departments of Labor, Treasury, IRS, and Center for


Medicare and Medicaid Services had requested plans to extend deadlines due to the COVID-19


pandemic, questioned the disability onset date of September 8, 2020, and noted the lack of

prejudice to the Defendant since her claim was submitted a mere six months past the purported


deadline.




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       22.    Nevertheless, on June 10, 2022, the Defendant notified Mrs. Remer that it was


upholding its original denial of her claim. A copy of the June 10, 2022 denial letter is attached


hereto as “Exhibit E.” In that denial, the Defendant indicated that “Mrs. Remer’s written proof of

claim was submitted after the policy deadline. She filed her claim on April 08, 2022, and this


date was not within one year of her disability that occurred on September 08, 2020.”


       23.     Mrs. Remer filed a Request for Reconsideration with the Defendant on August 10,


2022. A copy of the Request for Reconsideration letter is attached hereto as “Exhibit F.” In that


reconsideration request, Mrs. Remer clearly informed the Defendant that since she continued to


receive her regular salary from her employer until January of 2022, she never experienced a drop


in her “indexed monthly earnings,” let alone a decrease of twenty percent (20%) or more (as


required by the Policy). As a result, she could not be considered “disabled” under the Policy as


of September 8, 2020. That also means her deadline could not be September 8, 2021. In support

of her claim, Mrs. Remer attached her IRS W-2 Forms from her employer for the 2019, 2020,


and 2021 taxable years.


       24.     Just one day later, the Defendant quickly responded to Mrs. Remer upholding its


decision to deny her claim. A copy of the August 11, 2022 denial letter is attached hereto as


“Exhibit G.” In doing so, the Defendant noted that:

        “We acknowledge that Ms. [sic] Remer was receiving salary continuation from her
       employer after her arm amputation and that she would resume working after she was
       fitted with a prosthetic and had time to adjust. However, the earnings she received were
       not the result of performing her occupational duties. Ms. [sic] Remer’s disability began
       when she was unable to perform the material and substantial duties of her occupation as
       of September 08, 2022, which is the date we determined her disability began.”

       25.     The August 1 1, 2022 denial letter from the Defendant contained no reference to

any provision in the Policy that would support this determination. Nevertheless, the Defendant




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concluded by stating “the information you provided does not alter our prior appeal decision.

Please refer to our appeal determination of June 1 0, 222, which remains unchanged.”


        26.     Mrs. Remer has exhausted all administrative remedies with the Defendant

        27.     Defendant’s conduct has caused Mrs. Remer to sustain personal and financial


hardship and monetary loss.

        28.     Mrs. Remer has suffered, and will continue to suffer, irreparable injury due to

Defendant’s continued, and repeated, refusal to evaluate Mrs. Remer’s claim for disability


benefits under the Policy.

                                 FIRST CLAIM FOR RELIEF
                                   BREACH OF CONTRACT


        29.     Plaintiff hereby incorporates the allegations set forth Paragraphs 1 through 28 as

if folly rewritten herein.


        30.     Mrs. Remer had produced sufficient evidence to the Defendant establishing that


the disability on-set date of September 8, 2020 is improper under the terms of the Policy.

        31.     Nevertheless, Defendant continues to refuse to evaluate the merits of Mrs.

Remer’s claim for disability benefits, forcing her to file suit simply to have her claim considered.


        32.     The Defendant’s failure to evaluate the merits of Mrs. Remer’s claim for


disability benefits under the Policy constitutes a breach of express and implied contract pursuant.


                            SECOND CLAIM FOR RELIEF
                     BAD FAITH DENIAL OF AN INSURANCE CLAIM


        33.     Plaintiff hereby incorporates the allegations set forth in Paragraphs 1 through 32


as if fully rewritten herein.

        34.     Despite acknowledging that Mrs. Remer and her employer expected her to return


to work following the fitting of a prosthetic arm, and that she continued to receive her regular




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salary from her Employer following her surgery, the Defendant for disability benefits on the


basis that it was not timely filed.


           35.   By electing to uphold the denial and issue a letter merely one day after Mrs.


Remer submitted additional evidence, including copies of her IRS Form W-2 for multiple tax


years, it is unclear if the Defendant conducted a full and fair review.


           36.   Defendant’s conduct appears geared towards its own economic benefit as opposed

to fulfilling its duty to operate in good faith.


           37.   Further, the Defendant’s decision to insert terms and conditions that are not

present in the Policy represents a failure to act in good faith under Ohio insurance law.


           38.   Accordingly, there is no reasonable justification for Defendant’s continued refusal


to evaluate the merits of Mrs. Remer’s claim for disability benefits under the Policy.


           39.   As a result, the Defendant has engaged in bad faith in its continued denial of Mrs.


Remer’s claim for benefits under the Policy.


                                   THIRD CLAIM FOR RELIEF
                 INTENTIONAL IMPLICATION OF EMOTIONAL DISTRESS


           40.   Plaintiff hereby incorporates the allegations set forth in Paragraphs 1 through 39


as if fully rewritten herein.


           41.   The Defendant intentionally misconstrued its own policy solely to support its


denial to even review the merits of Mrs. Remer’s claim. This misconstruction included inserting


terms and conditions which are not present in the Policy.


           42.   The Defendant’s actions were outrageous, in bad faith, and for its own economic


benefit.


           43.   The actions of the Defendant forced Mrs. Remer to obtain the undersign counsel


merely to the merits of her claim reviewed, thus causing Mrs. Remer severe emotional distress.



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       44.     The Defendant’s conduct was intentionally directed to frustrate the efforts of Mrs.


Remer to pursue a claim under the Policy and to further its own economic benefit.


       45.     Accordingly, the Defendant through its conduct is liable to Mrs. Remer for the

intentional infliction of emotional distress.


                                     PRAYER FOR RELIEF

       Wherefore, Plaintiff prays for relief as follows:


       (A)     For declaratory relief requiring defendant to provide full benefits under the


               disability policy;


       (B)     For an award of compensatory and punitive damages;


       (C)     For an award of costs and reasonable attorneys fees;


       (D)     For such other relief as the Court deems appropriate.



                                                Respectfully submitted:

                                                Bv: /s/Jerenw T, Rodrieuez
                                                        Jeremy T. Rodriguez (0081495)
                                                        jrodriguez@anottafarley.com
                                                        Allotta | Farley Co. L.P.A.
                                                        Preston Building
                                                        3240 Levis Commons Blvd.
                                                        Perrysburg, Ohio 43551
                                                        Telephone: (419) 535-0075
                                                        Facsimile: (419) 535-1935

                                                       Counsel for Plaintiff




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                                                        GROUP INSURANCE POLICY
  unum*                                                     NON-PARTICIPATING




POLICYHOLDER:          University of Toledo

POLICY NUMBER:         953733 001

POLICY EFFECTIVE DATE:            January 1 , 2020

POLICY ANNIVERSARY DATE: January 1

GOVERNING JURISDICTION:           Ohio

Unum Life Insurance Company of America (referred to as Unum) will provide benefits
under this policy. Unum makes this promise subject to all of this policy's provisions.

The policyholder should read this policy carefully and contact Unum promptly with any
questions. This policy is delivered in and is governed by the laws of the governing
jurisdiction and to the extent applicable by the Employee Retirement Income Security
Act of 1974 (ERISA) and any amendments. This policy consists of:

     all policy provisions and any amendments and/or attachments issued;
     employees' signed applications; and
     the certificate of coverage.

This policy may be changed in whole or in part. Only an officer or a registrar of Unum
can approve a change. The approval must be in writing and endorsed on or attached to
this policy. No other person, including an agent, may change this policy or waive any
part of it.

Signed for Unum at Portland, Maine on the Policy Effective Date.




               President                                Secretary

                      Unum Life Insurance Company of America
                               2211 Congress Street
                               Portland, Maine 04122




C.FP-1                              C.FP-1 (1/1/2020)
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                                   BENEFITS AT A GLANCE

                                     LONG TERM DISABILITY PLAN

This long term disability plan provides financial protection for you by paying a portion of your income while
you are disabled. The amount you receive is based on the amount you earned before your disability
began. In some cases, you can receive disability payments even if you work while you are disabled.

EMPLOYER'S ORIGINAL PLAN
EFFECTIVE DATE:   January 1 , 2020

POLICY NUMBER:           953733 001

ELIGIBLE GROUP(S):

    Group 1
       All Main Campus Benefits Eligible Classified Exempt, Faculty, and All Other Unclassified
       Employees in active employment in the United States with the Employer

    Group 2
       All Full-Time Health Science Campus Benefits Eligible Executives, Contracted, Salaried
       Employees, and Non-Contracted Resident Physicians in active employment in the United States
       with the Employer

MINIMUM HOURS REQUIREMENT:

        Employees must be working at least 40 hours per week on a regularly scheduled basis.

WAITING PERIOD:

        For employees in an eligible group on or before January 1 , 2020: None

        For employees entering an eligible group after January 1 , 2020: None

WHO PAYS FOR THE COVERAGE:

        Your Employer pays the cost of your coverage.

ELIMINATION PERIOD:

        180 days

Benefits begin the day after the elimination period is completed.

MONTHLY BENEFIT:

    All Main Campus Benefits Eligible Classified Exempt, Faculty, and All Other Unclassified
    Employees
        70% of monthly earnings to a maximum benefit of $5,000 per month.

        Your payment may be reduced by deductible sources of income and disability earnings.
        Some disabilities may not be covered or may have limited coverage under this plan.

    All Full-Time Health Science Campus Benefits Eligible Executives, Contracted, Salaried
    Employees, and Non-Contracted Resident Physicians
        60% of monthly earnings to a maximum benefit of $1 0,000 per month.

        Your payment may be reduced by deductible sources of income and disability earnings.
        Some disabilities may not be covered or may have limited coverage under this plan.

MAXIMUM PERIOD OF PAYMENT:

        Aae at Disability                         Maximum Period of Payment
        Less than Age 62                          To Social Security Normal Retirement Age




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       Age   62                                60   months
       Age   63                                48   months
       Age   64                                42   months
       Age   65                                36   months
       Age   66                                30   months
       Age 67                                  24   months
       Age 68                                  18   months
       Age 69 or older                         12   months

       Year of Birth                           Social Security Normal Retirement Aae
        937 or before                          65 years
       1938                                    65 years 2 months
       1939                                    65 years 4 months
       1940                                    65 years 6 months
       1941                                    65 years 8 months
       1942                                    65 years 10 months
       1943-1954                               66 years
       1955                                    66 years 2 months
       1956                                    66 years 4 months
       1957                                    66 years 6 months
       1958                                    66 years 8 months
       1959                                    66 years 10 months
       1960 and after                          67 years

No premium payments are required for your coverage while you are receiving payments under this plan.

REHABILITATION AND RETURN TO WORK ASSISTANCE BENEFIT:

       1 0% of your gross disability payment to a maximum benefit of $1 ,000 per month.

       In addition, we will make monthly payments to you for 3 months following the date your disability
       ends if we determine you are no longer disabled while:

       - you are participating in the Rehabilitation and Return to Work Assistance program; and
       - you are not able to find employment.

DEPENDENT CARE EXPENSE BENEFIT:

       While you are participating in Unum's Rehabilitation and Return to Work Assistance program, you
       may receive payments to cover certain dependent care expenses limited to the following
       amounts:

       Dependent Care Expense Benefit Amount: $350 per month, per dependent

       Dependent Care Ejmense Maximum Benefit Amount: $1 ,000 per month for all eligible dependent
       care expenses combined

TOTAL BENEFIT CAP:

       The total benefit payable to you on a monthly basis (including all benefits provided under this
       plan) will not exceed 1 00% of your monthly earnings. However, if you are participating in Unum's
       Rehabilitation and Return to Work Assistance program, the total benefit payable to you on a
       monthly basis (including all benefits provided under this plan) will not exceed 110% of your
       monthly earnings.

OTHER FEATURES:

       Continuity of Coverage

       Minimum Benefit

       Pre-Existing: 3/12

       Survivor Benefit




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The above Items are only highlights of this plan. For a full description of your coverage, continue
reading your certificate of coverage section.

The plan includes enrollment, risk management and other support services related to your Employer's
Benefit Program.




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                              CLAIM INFORMATION

                            LONG TERM DISABILITY

WHEN DO YOU NOTIFY UNUM OF A CLAIM?

  We encourage you to notify us of your claim as soon as possible so that a claim
  decision can be made in a timely manner. Notice of claim should be sent within 30
  days after the date your disability begins. In addition, you must send Unum proof of
  your claim no later than one year after the date your disability begins unless your
  failure to do so is due to your lack of legal capacity. In no event can proof of your
  claim be submitted after the expiration of the time limit for commencing a legal
  proceeding as stated in the policy, even if your failure to provide proof of claim is due
  to a lack of legal capacity or if state law provides an exception to the one year time
  period.

  You must notify us immediately when you return to work in any capacity.

HOW DO YOU FILE PROOF OF CLAIM?

  You and your Employer must fill out your own sections of the claim form and then
  give it to your attending physician. Your physician should fill out his or her section of
  the form and send it directly to Unum.

  The form to use to submit your proof of claim is available from your Employer, or you
  can request the form from us. If you do not receive the form from Unum or your
  Employer within 15 days of your request, send Unum proof of claim without waiting
  for the form.

WHAT INFORMATION IS NEEDED AS PROOF OF YOUR CLAIM?

  Proof of your claim, provided at your expense, must show:

  - the date your disability began;
  - the existence and cause of your sickness or injury;
  - that your sickness or injury causes you to have limitations on your functioning and
    restrictions on your activities preventing you from performing the material and
    substantial duties of your regular occupation or of any other gainful occupation for
    which you are reasonably fitted by education, training, or experience;
  - that you are under the regular care of a physician;
  - the name and address of any hospital or institution where you received
    treatment, including all attending physicians; and
  - the appropriate documentation of your monthly earnings, any disability earnings,
    and any deductible sources of income.

  In some cases, you will be required to give Unum authorization to obtain additional
  medical information and to provide non-medical information as part of your proof of
  claim, or proof of continuing disability. We may also require that you send us
  appropriate financial records, which may include income tax returns, which we
  believe are necessary to substantiate your income. We may request that you send
  periodic proof of your claim. This proof, provided at your expense, must be received
  within 45 days of a request by us. Unum will deny your claim, or stop sending you
  payments, if the appropriate information is not submitted.




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  We may require you to be examined by a physician, other medical practitioner
  and/or vocational expert of our choice. Unum will pay for this examination. We can
  require an examination as often as it is reasonable to do so. We may also require
  you to meet with and be interviewed by an authorized Unum Representative. Unum
  will deny your claim, or stop sending you payments, if you fail to comply with our
  requests.

TO WHOM WILL UNUM MAKE PAYMENTS?

  Unum will make payments to you.

WHAT HAPPENS IF UNUM OVERPAYS YOUR CLAIM?

  Unum has the right to recover any overpayments due to:

  -   fraud;
  -   any error Unum makes in processing a claim;
  -   disability earnings; or
  -   deductible sources of income.

  You must reimburse us in full. We will determine the method by which the
  repayment is to be made which may include reducing or withholding future payments
  including the minimum monthly payment.

  Unum will not recover more money than the amount we paid you.

  Any unpaid premium due for your coverage under this policy may be recovered by
  us by offsetting against amounts otherwise payable to you under this policy, or by
  other legally permitted means.




                               LTD-CLM-2 (1/1/2020)
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                        POLICYHOLDER PROVISIONS

WHAT IS THE COST OF THIS INSURANCE?

                            LONG TERM DISABILITY

  The initial premium for each plan is based on the initial rate(s) shown in the Rate
  Information Amendment(s).

  WAIVER OF PREMIUM

  Unum does not require premium payments for an insured while he or she is
  receiving Long Term Disability payments under this plan.

  INITIAL RATE GUARANTEE AND RATE CHANGES

  Refer to the Rate Information Amendment(s).

WHEN IS PREMIUM DUE FOR THIS POLICY?

  Premium Due Dates: Premium due dates are based on the Premium Due Dates
                         shown in the Rate Information Amendment(s).

  The Policyholder must send all premiums to Unum on or before their respective
  due date. The premium must be paid in United States dollars.

WHEN ARE INCREASES OR DECREASES IN PREMIUM DUE?

  Premium increases or decreases which take effect during a policy month are
  adjusted and due on the next premium due date following the change. Changes will
  not be pro-rated daily.

  If premiums are paid on other than a monthly basis, premiums for increases and
  decreases will result in a monthly pro-rated adjustment on the next premium due
  date.

  Unum will only adjust premium for the current policy year and the prior policy year.
  In the case of fraud, premium adjustments will be made for all policy years.

WHAT INFORMATION DOES UNUM REQUIRE FROM THE POLICYHOLDER?

  The Policyholder must provide Unum with the following on a regular basis:

  - information about employees:
    •who are eligible to become insured;
    •whose amounts ofcoverage change; and/or
    •whose coverage ends;
  - occupational information and any other information that may be required to
    manage a claim; and
  - any other information that may be reasonably required.

  Policyholder records that, in Unum's opinion, have a bearing on this policy will be
  available for review by Unum at any reasonable time.




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  Clerical error or omission by Unum will not:

  - prevent an employee from receiving coverage;
  - affect the amount of an insured's coverage; or
  - cause an employee's coverage to begin or continue when the coverage would not
    otherwise be effective.

WHO CAN CANCEL OR MODIFY THIS POLICY OR A PLAN UNDER THIS POUCY?

  This policy or a plan under this policy can be cancelled:

  - by Unum; or
  - by the Policyholder.

  Unum may cancel or modify this policy or a plan if:

  - there is less than 75% participation of those eligible employees who pay all or part
    of their premium for a plan; or
  - there is less than 100% participation of those eligible employees for a Policyholder
    paid plan;
  - the Policyholder does not promptly provide Unum with information that is
    reasonably required;
  - the Policyholder fails to perform any of its obligations that relate to this policy;
  - fewer than 10 employees are insured under a plan;
  - the premium is not paid in accordance with the provisions of this policy that specify
    whether the Policyholder, the employee, or both, pay(s) the premiums;
  - the Policyholder does not promptly report to Unum the names of any employees
    who are added or deleted from the eligible group;
  - Unum determines that there is a significant change, in the size, occupation or age
    of the eligible group as a result of a corporate transaction such as a merger,
    divestiture, acquisition, sale, or reorganization of the Policyholder and/or its
    employees; or
  - the Policyholder fails to pay any portion of the premium within the 90 day grace
    period.

  If Unum cancels or modifies this policy or a plan for reasons other than the
  Policyholder's failure to pay premium, a written notice will be delivered to the
  Policyholder at least 31 days prior to the cancellation date or modification date. The
  Policyholder may cancel this policy or a plan if the modifications are unacceptable.

  If any portion of the premium is not paid during the grace period, Unum will eithef
  cance   or modify the policy or plan automatically at the end of the grace period. The
  Policyholder is
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                  liable for premium for coverage during the grace period. The
  Policyholder must pay Unum all premium due for the full period each plan Is in force.

  The Policyholder may cancel this policy or a plan by written notice delivered to
  Unum at least 31 days prior to the cancellation date. When both the Policyholder
  and Unum agree, this policy or a plan can be cancelled on an earlier date. If Unum
  or the Policyholder cancels this policy or a plan, coverage will end at 12:00 midnight
  on the last day of coverage.

  If this policy or a plan is cancelled, the cancellation will not affect a payable claim.




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WHAT HAPPENS TO AN EMPLOYEE’S COVERAGE UNDER THIS POLICY WHILE
HE OR SHE IS ON A FAMILY AND MEDICAL LEAVE OF ABSENCE?

  We will continue the employee's coverage in accordance with the policyholder's
  Human Resource policy on family and medical leaves of absence if premium
  payments continue and the policyholder approved the employee's leave in writing.

  Coverage will be continued until the end of the later of:

  1 . the leave period required by the federal Family and Medical Leave Act of 1993
      and any amendments; or
  2. the leave period required by applicable state law.

  If the policyholder's Human Resource policy doesn't provide for continuation of an
  employee's coverage during a family and medical leave of absence, the employee's
  coverage will be reinstated when he or she returns to active employment.

  We will not:

  - apply a new waiting period;
  - apply a new pre-existing conditions exclusion; or
  - require evidence of insurability.

DIVISIONS, SUBSIDIARIES OR AFFILIATED COMPANIES INCLUDE:

  NAME/LOCATION (CITY AND STATE)

  Refer to the contract file correspondence for a listing of names and locations
  approved by Unum.




                              EMPLOYER-3 (1/1/2020)
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                              CERTIFICATE SECTION


Unum Life Insurance Company of America (referred to as Unum) welcomes you as a
client.

This is your certificate of coverage as long as you are eligible for coverage and you
become insured. You will want to read it carefully and keep it in a safe place.

Unum has written your certificate of coverage in plain English. However, a few terms
and provisions are written as required by insurance law. If you have any questions
about any of the terms and provisions, please consult Unum's claims paying office.
Unum will assist you in any way to help you understand your benefits.

If the terms and provisions of the certificate of coverage (issued to you) are different
from the policy (issued to the policyholder), the policy will govern. Your coverage may
be cancelled or changed in whole or in part under the terms and provisions of the policy.

The policy is delivered in and is governed by the laws of the governing jurisdiction and
to the extent applicable by the Employee Retirement Income Security Act of 1974
(ERISA) and any amendments.

For purposes of effective dates and ending dates under the group policy, all days begin
at 12:01 a.m. and end at 12:00 midnight at the Policyholder's address.


                       Unum Life Insurance Company of America
                                221 1 Congress Street
                                Portland, Maine 04122




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                             GENERAL PROVISIONS

WHAT IS THE CERTIFICATE OF COVERAGE?

  This certificate of coverage is a written statement prepared by Unum and may
  include attachments. It tells you:

  - the coverage for which you may be entitled;
  - to whom Unum will make a payment; and
  - the limitations, exclusions and requirements that apply within a plan.

WHEN ARE YOU ELIGIBLE FOR COVERAGE?

  If you are working for your Employer in an eligible group, the date you are eligible for
  coverage is the later of:

  - the plan effective date; or
  - the day after you complete your waiting period.

WHEN DOES YOUR COVERAGE BEGIN?

  When your Employer pays 100% of the cost of your coverage under a plan, you will
  be covered at 12:01 a.m. on the date you are eligible for coverage.

  When you and your Employer share the cost of your coverage under a plan or when
  you pay 100% of the cost yourself, you will be covered at 12:01 a.m. on the latest of:

  - the date you are eligible for coverage, if you apply for insurance on or before that
    date;
  - the date you apply for insurance, if you apply within 31 days after your eligibility
    date; or
  - the date Unum approves your application, if evidence of insurability is required.

  Evidence of insurability is required if you:

  - are a late applicant, which means you apply for coverage more than 31 days after
    the date you are eligible for coverage; or
  - voluntarily cancelled your coverage and are reapplying.

  An evidence of insurability form can be obtained from your Employer.

WHAT IF YOU ARE ABSENT FROM WORK ON THE DATE YOUR COVERAGE
WOULD NORMALLY BEGIN?

  If you are absent from work due to injury, sickness, temporary layoff or leave of
  absence, your coverage will begin on the date you return to active employment

ONCE YOUR COVERAGE BEGINS, WHAT HAPPENS IF YOU ARE TEMPORARILY
NOT WORKING?

  If you are on a temporary layoff, and if premium is paid, you will be covered through
  the end of the month that immediately follows the month in which your temporary
  layoff begins.




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  If you are on a leave of absence, and if premium is paid, you will be covered for up
  to 90 days following the date your leave of absence begins.

ONCE YOUR COVERAGE BEGINS, WHAT HAPPENS IF YOU ARE NOT WORKING
DUE TO A PLANT CLOSING?

  Massachusetts Residents Only
  If you are not working due to a plant closing (as defined in Section 71A of Chapter
  151A of the Massachusetts Insurance Statutes), and if premium is paid, you will be
  covered up to 90 days from the date you were no longer in active employment. If
  you become covered under any other group disability plan, your coverage under this
  policy or plan will end.

WHEN WILL CHANGES TO YOUR COVERAGE TAKE EFFECT?

  Once your coverage begins, any increased or additional coverage will take effect
  immediately if you are in active employment or if you are on a covered layoff or
  leave of absence. If you are not in active employment due to injury or sickness, any
  increased or additional coverage will begin on the date you return to active
  employment.

  Any decrease in coverage will take effect immediately but will not affect a payable
  claim that occurs prior to the decrease.

WHEN DOES YOUR COVERAGE END?

  Non-Massachusetts Residents
  Your coverage under the policy or a plan ends on the earliest of:

  -   the date the policy or a plan is cancelled;
  -   the date you no longer are in an eligible group;
  -   the date your eligible group is no longer covered;
  -   the last day of the period for which you made any required contributions; or
  -   the last day you are in active employment except as provided under the covered
      layoff or leave of absence provision.

  Unum will provide coverage for a payable claim which occurs while you are covered
  under the policy or plan.

  Massachusetts Residents
  Your coverage under the policy or a plan ends on the earliest of:

  -   the date the policy or a plan is cancelled;
  -   the date you no longer are in an eligible group;
  -   the date your eligible group Is no longer covered;
  -   the last day of the period for which you made any required contributions; or
  -   the last day you are in active employment except as provided under the covered
      layoff, leave of absence and plant closing provisions, or as noted below.

  If you end employment, coverage will be extended for 31 days. But if you become
  eligible for any other group disability insurance or any other arrangement, this
  extension of coverage will end.




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  Unum will provide coverage for a payable claim which occurs while you are covered
  under the policy or plan.

WHAT ARE THE TIME LIMITS FOR LEGAL PROCEEDINGS?

  You can start legal action regarding your claim 60 days after proof of claim has been
  given and up to 3 years from the later of when original proof of your claim was first
  required to have been given; or your claim was denied; or your benefits were
  terminated, unless otherwise provided under federal law.

HOW CAN STATEMENTS MADE IN YOUR APPLICATION FOR THIS COVERAGE
BE USED?

  Unum considers any statements you or your Employer make in a signed application
  for coverage a representation and not a warranty. If any of the statements you of
  your Employer make are not complete and/or not true at the time they are made, we
  can:


  - reduce or deny any claim; or
  - cancel your coverage from the original effective date.

  We will use only statements made in a signed application as a basis for doing this.

  If the Employer gives us information about you that is incorrect, we will:

  - use the facts to decide whether you have coverage under the plan and in what
    amounts; and
  - make a fair adjustment of the premium.

HOW WILL UNUM HANDLE INSURANCE FRAUD?

  Unum wants to ensure you and your Employer do not incur additional insurance
  costs as a result of the undermining effects of insurance fraud. Unum promises to
  focus on all means necessary to support fraud detection, investigation, and
  prosecution.

  It is a crime if you knowingly, and with intent to injure, defraud or deceive Unum, or
  provide any information, including filing a claim, that contains any false, incomplete
  or misleading information. These actions, as well as submission of materially false
  information, will result in denial of your claim, and are subject to prosecution and
  punishment to the full extent under state and/or federal law. Unum will pursue all
  appropriate legal remedies in the event of insurance fraud.

DOES THE POLICY REPLACE OR AFFECT ANY WORKERS' COMPENSATION OR
STATE DISABILITY INSURANCE?

  The policy does not replace or affect the requirements for coverage by any workers'
  compensation or state disability insurance.

DOES YOUR EMPLOYER ACT AS YOUR AGENT OR UNUM'S AGENT?

  For purposes of the policy, your Employer acts on its own behalf or as your agent.
  Under no circumstances will your Employer be deemed the agent of Unum.




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                             LONG TERM DISABILITY

                             BENEFIT INFORMATION

HOW DOES UNUM DEFINE DISABILITY?

  You are disabled when Unum determines that:

  - you are limited from performing the material and substantial duties of your
    regular occupation due to your sickness or Injury; and
  - you have a 20% or more loss in your indexed monthly earnings due to the same
    sickness or injury.

  After 24 months of payments, you are disabled when Unum determines that due to
  the same sickness or injury, you are unable to perform the duties of any gainful
  occupation for which you are reasonably fitted by education, training or experience.

  You must be under the regular care of a physician in order to be considered
  disabled.

  The loss of a professional or occupational license or certification does not, in itself,
  constitute disability.

HOW LONG MUST YOU BE DISABLED BEFORE YOU ARE ELIGIBLE TO RECEIVE
BENEFITS?

  You must be continuously disabled through your elimination period. Unum will
  treat your disability as continuous if your disability stops for 30 days or less during
  the elimination period. The days that you are not disabled will not count toward your
  elimination period.

  Your elimination period is 180 days.

  You are not required to have a 20% or more loss in your indexed monthly earnings
  due to the same injury or sickness to be considered disabled during the elimination
  period.

CAN YOU SATISFY YOUR ELIMINATION PERIOD IF YOU ARE WORKING?

  Yes. If you are working while you are disabled, the days you are disabled will count
  toward your elimination period.

WHEN WILL YOU BEGIN TO RECEIVE PAYMENTS?

  You will begin to receive payments when we approve your claim, providing the
  elimination period has been met and you are disabled. We will send you a payment
  monthly for any period for which Unum is liable.

HOW MUCH WILL UNUM PAY YOU IF YOU ARE DISABLED?

  We will follow this process to figure your payment:




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  All Main Campus Benefits Eligible Classified Exempt, Faculty, and All Other
  Unclassified Employees
  1 . Multiply your monthly earnings by 70%.
  2. The maximum monthly benefit is $5,000.
  3. Compare the answer from Item 1 with the maximum monthly benefit. The lesser
     of these two amounts is your gross disability payment.
  4. Subtract from your gross disability payment any deductible sources of income.

  The amount figured in Item 4 is your monthly payment.

  Your monthly payment may be reduced based on your disability earnings.

  If, at any time after the elimination period, you are disabled for less than 1 month, we
  will send you 1/30 of your monthly payment for each day of disability and 1/30 of any
  additional benefits for each day of disability.

  AH Full-Time Health Science Campus Benefits Eligible Executives, Contracted,
  Salaried Employees, and Non-Contracted Resident Physicians
  1 . Multiply your monthly earnings by 60%.
  2. The maximum monthly benefit is $10,000.
  3. Compare the answer from Item 1 with the maximum monthly benefit. The lesser
      of these two amounts Is your gross disability payment.
  4. Subtract from your gross disability payment any deductible sources of income.

  The amount figured in Item 4 is your monthly payment.

  Your monthly payment may be reduced based on your disability earnings.

  If, at any time after the elimination period, you are disabled for less than 1 month, we
  will send you 1/30 of your monthly payment for each day of disability and 1 /30 of any
  additional benefits for each day of disability.

WILL UNUM EVER PAY MORE THAN 100% OF MONTHLY EARNINGS?

  The total benefit payable to you on a monthly basis (including all benefits provided
  under this plan) will not exceed 1 00% of your monthly earnings. However, if you are
  participating in Unum's Rehabilitation and Return to Work Assistance program, the
  total benefit payable to you on a monthly basis (including all benefits provided under
  this plan) will not exceed 1 1 0% of your monthly earnings.

WHAT ARE YOUR MONTHLY EARNINGS?

  "Monthly Earnings" means your gross monthly income from your Employer, including
  shift differential, in effect just prior to your date of disability. It includes your total
  income before taxes. It is prior to any deductions made for pre-tax contributions to a
  qualified deferred compensation plan, Section 125 plan or flexible spending account.
  It does not include income received from commissions, bonuses, overtime pay or
  any other extra compensation or income received from sources other than your
  Employer.




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WHAT WILL WE USE FOR MONTHLY EARNINGS IF YOU BECOME DISABLED
DURING A COVERED LAYOFF OR LEAVE OF ABSENCE?

  If you become disabled while you are on a covered layoff or leave of absence, we
  will use your monthly earnings from your Employer in effect just prior to the date
  your absence begins.

HOW MUCH WILL UNUM PAY YOU IF YOU ARE DISABLED AND WORKING?

  We will send you the monthly payment if you are disabled and your monthly
  disability earnings, if any, are less than 20% of your indexed monthly earnings,
  due to the same sickness or injury.

  If you are disabled and your monthly disability earnings are from 20% through 80%
  of your indexed monthly earnings, due to the same sickness or injury, Unum will
  figure your payment as follows:

  During the first 12 months of payments, while working, your monthly payment will not
  be reduced as long as disability earnings plus the gross disability payment does not
  exceed 100% of indexed monthly earnings.

  1 . Add your monthly disability earnings to your gross disability payment.
  2. Compare the answer in Item 1 to your indexed monthly earnings.

  If the answer from Item 1 is less than or equal to 100% of your indexed monthly
  earnings, Unum will not further reduce your monthly payment.

  If the answer from Item 1 is more than 100% of your indexed monthly earnings,
  Unum will subtract the amount over 100% from your monthly payment.

  After 12 months of payments, while working, you will receive payments based on the
  percentage of income you are losing due to your disability.

  1 . Subtract your disability earnings from your indexed monthly earnings.
  2. Divide the answer in Item 1 by your indexed monthly earnings. This is your
      percentage of lost earnings.
  3. Multiply your monthly payment by the answer in Item 2.

  This is the amount Unum will pay you each month.

  As part of your proof of disability earnings, we can require that you send us
  appropriate financial records, which may include income tax returns, which we
  believe are necessary to substantiate your income.

  After the elimination period, if you are disabled for less than 1 month, we will send
  you 1/30 of your payment for each day of disability.

HOW DO WE PROTECT YOU IF YOUR DISABILITY EARNINGS FLUCTUATE?

  If your disability earnings have fluctuated from month to month, Unum may
  determine your benefit eligibility based on the average of your disability earnings
  over the most recent 3 months.




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WHAT ARE DEDUCTIBLE SOURCES OF INCOME?

  Unum will subtract from your gross disability payment the following deductible
  sources of income:

  1 . The amount that you receive or are entitled to receive under:

     - a workers' compensation law.
     - an occupational disease law.
     - any other act or law with similar intent.

  2. The amount that you receive or are entitled to receive as disability income or
     disability retirement payments under any:

     -   state compulsory benefit act or law.
     -   group plan sponsored by your Employer.
     -   other group insurance plan.
     -   governmental retirement system.

  3. The amount that you, your spouse and your children receive or are entitled to
     receive as disability payments because of your disability under:

     - the United States Social Security Act.
     - the Canada Pension Plan.
     - the Quebec Pension Plan.
     - any similar plan or act.

  4. The amount that you receive as retirement payments or the amount your spouse
     and children receive as retirement payments because you are receiving
     retirement payments under:

     -   the United States Social Security Act.
     -   the Canada Pension Plan.
     -   the Quebec Pension Plan.
     -   any similar plan or act.

  5. The amount that you receive as retirement payments under any governmental
     retirement system. Retirement payments do not include payments made at the
     later of age 62 or normal retirement age under your Employer's retirement plan
     which are attributable to contributions you made on a post tax basis to the
     system.

     Regardless of how retirement payments are distributed, Unum will consider
     payments attributable to your post tax contributions to be distributed throughout
     your lifetime.

     Amounts received do not include amounts rolled over or transferred to any
     eligible retirement plan. Unum will use the definition of eligible retirement plan as
     defined in Section 402 of the Internal Revenue Code including any future
     amendments which affect the definition.

  6. The amount that you:

     - receive as disability payments under your Employer's retirement plan.




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     - voluntarily elect to receive as retirement payments under your Employer's
     retirement plan.
     - receive as retirement payments when you reach the later of age 62 or normal
     retirement age, as defined in your Employer's retirement plan.

     Disability payments under a retirement plan will be those benefits which are paid
     due to disability and do not reduce the retirement benefit which would have been
     paid if the disability had not occurred.

     Retirement payments will be those benefits which are based on your Employer’s
     contribution to the retirement plan. Disability benefits which reduce the
     retirement benefit under the plan will also be considered as a retirement benefit.

     Regardless of how the retirement funds from the retirement plan are distributed,
     Unum will consider your and your Employer's contributions to be distributed
     simultaneously throughout your lifetime.

     Amounts received do not include amounts rolled over or transferred to any
     eligible retirement plan. Unum will use the definition of eligible retirement plan as
     defined in Section 402 of the Internal Revenue Code including any future
     amendments which affect the definition.

  7. The amount that you receive under the mandatory portion of any "no fault" motor
     vehicle plan.

  8. The amount that you receive under a salary continuation or accumulated sick
     leave plan.

  9. The amount that you receive from a third party (after subtracting attorney's fees)
     by judgment, settlement or otherwise.

  With the exception of retirement payments, Unum will only subtract deductible
  sources of income which are payable as a result of the same disability.

  We will not reduce your payment by your Social Security retirement income if your
  disability begins after age 65 and you were already receiving Social Security
  retirement payments.

WHAT ARE NOT DEDUCTIBLE SOURCES OF INCOME?

  Unum will not subtract from your gross disability payment income you receive from,
  but not limited to, the following:

    401 (k) plans
    profit sharing plans
    thrift plans
    tax sheltered annuities
    stock ownership plans
    non-gualified plans of deferred compensation
    pension plans for partners
    military pension and disability income plans
    credit disability insurance
    franchise disability income plans
    a retirement plan from another Employer




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  - individual retirement accounts (IRA)
  - individual disability income plans

WHAT IF SUBTRACTING DEDUCTIBLE SOURCES OF INCOME RESULTS IN A
ZERO BENEFIT? (Minimum Benefit)

  The minimum monthly payment is the greater of:

  - $100; or
  - 1 0% of your gross disability payment.

  Unum may apply this amount toward an outstanding overpayment.

WHA T HAPPENS WHEN YOU RECEIVE A COST OF LIVING INCREASE FROM
DEDUCTIBLE SOURCES OF INCOME?

  Once Unum has subtracted any deductible source of income from your gross
  disability payment, Unum will not further reduce your payment due to a cost of living
  increase from that source.

WHAT IF UNUM DETERMINES YOU MAY QUALIFY FOR DEDUCTIBLE INCOME
BENEFITS?

  When we determine that you may qualify for benefits under ltem(s) 1 , 2 and 3 in the
  deductible sources of income section, we will estimate your entitlement to these
  benefits. We can reduce your payment by the estimated amounts if such benefits:

  - have not been awarded; and
  - have not been denied; or
  - have been denied and the denial is being appealed.

  Your Long Term Disability payment will NOT be reduced by the estimated amount if
  you:


  - apply for the disability payments under ltem(s) 1 , 2 and 3 in the deductible sources
    of income section and appeal your denial to ail administrative levels Unum feels
    are necessary; and
  - sign Unum's payment option form. This form states that you promise to pay us
    any overpayment caused by an award.

  If your payment has been reduced by an estimated amount, your payment will be
  adjusted when we receive proof:

  - of the amount awarded; or
  - that benefits have been denied and all appeals Unum feels are necessary have
    been completed. In this case, a lump sum refund of the estimated amount will be
    made to you.

  If you receive a lump sum payment from any deductible sources of income, the lump
  sum will be pro-rated on a monthly basis over the time period for which the sum was
  given. If no time period is stated, we will use a reasonable one.




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HOW LONG WILL UNUM CONTINUE TO SEND YOU PAYMENTS?

  Unum will send you a payment each month up to the maximum period of payment.
  Your maximum period of payment is based on your age at disability as follows:

  Age at Disability                    Maximum Period of Payment

  Less than Age 62                     To   Social Security Normal Retirement Age
  Age 62                               60   months
  Age 63                               48   months
  Age 64                               42   months
  Age 65                               36   months
  Age 66                               30   months
  Age 67                               24 months
  Age 68                               18 months
  Age 69 or older                      12 months

  Year of Birth                        Social Security Normal Retirement Age

  1 937 or before                      65   years
  1938                                 65   years   2 months
  1939                                 65   years   4 months
  1940                                 65   years   6 months
  1941                                 65   years   8 months
  1942                                 65   years   10 months
  1943-1954                            66   years
  1955                                 66   years
                                                2 months
  1956                                 66   years
                                                4 months
  1957                                 66 years 6 months
  1958                                 66 years 8 months
  1959                                 66 years 10 months
  1960 and after                       67 years

WHEN WILL PAYMENTS STOP?

  We will stop sending you payments and your claim will end on the earliest of the
  following:

  - during the first 24 months of payments, when you are able to work in your regular
    occupation on a part-time basis and you do not;
  - after 24 months of payments, when you are able to work in any gainful occupation
    on a part-time basis and you do not;
  - if you are working and your monthly disability earnings exceed 80% of your
    indexed monthly earnings, the date your earnings exceed 80%;
  - the end of the maximum period of payment;
  - the date you are no longer disabled under the terms of the plan, unless you' are
    eligible to receive benefits under Unum’s Rehabilitation and Return to Work
    Assistance program;
  - the date you fail to submit proof of continuing disability;
  - after 12 months of payments if you are considered to reside outside the United
    States or Canada. You will be considered to reside outside these countries when
    you have been outside the United States or Canada for a total period of 6 months
    or more during any 12 consecutive months of benefits;
  - the date you die.




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WHAT DISABILITIES HAVE A LIMITED PAY PERIOD UNDER YOUR PLAN?

  The lifetime cumulative maximum benefit period for all disabilities due to mental
  Illness and disabilities based primarily on self-reported symptoms is 24 months.
  Only 24 months of benefits will be paid for any combination of such disabilities even
  if the disabilities:

  - are not continuous; and/or
  - are not related.

  However, Unum will send you payments beyond the 24 month period if you meet
  one of these conditions:

  1 . If you are confined to a hospital or institution at the end of the 24 month period,
      Unum will continue to send you payments during your confinement.

       If you are still disabled when you are discharged, Unum will send you payments
       for a recovery period of up to 90 days.

       If you become reconfined at any time during the recovery period and remain
       confined for at least 14 days In a row, Unum will send payments during that
       additional confinement and for one additional recovery period up to 90 more
       days.

  2. If you are not confined to a hospital or institution but become confined for a
     period of at least 14 days within 90 days after the 24 month period for which you
     have received payments, Unum will send payments during the length of the
     confinement.

  Under no circumstances will Unum pay beyond the maximum period of payment as
  indicated in the BENEFITS AT A GLANCE section of your policy.

  Unum will not apply the mental illness limitation to dementia if it is a result of:

  -   stroke;
  -   trauma;
  -   viral infection;
  -   Alzheimer's disease; or
  - other conditions not listed which are not usually treated by a mental health
    provider or other qualified provider using psychotherapy, psychotropic drugs, or
    other similar methods of treatment.

WHAT DISABILITIES ARE NOT COVERED UNDER YOUR PLAN?

  Your plan does not cover any disabilities caused by, contributed to by, or resulting
  from your:

  - intentionally self-inflicted injuries.
  - active participation in a riot.
  - loss of a professional license, occupational license or certification.
  - attempt to commit or commission of a crime.
  - pre-existing condition.




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  Your plan will not cover a disability due to war, declared or undeclared, or any act of
  war.


  Unum will not pay a benefit for any period of disability during which you are
  incarcerated.

WHAT IS A PRE-EXISTING CONDITION?

  You have a pre-existing condition if:

  - you received medical treatment, consultation, care or services including diagnostic
    measures, or took prescribed drugs or medicines in the 3 months just prior to your
    effective date of coverage; and
  - the disability begins in the first 12 months after your effective date of coverage.

WHAT HAPPENS IF YOU RETURN TO WORK FULL TIME WITH THE
POLICYHOLDER AND YOUR DISABILITY OCCURS AGAIN?

  If you have a recurrent disability, Unum will treat your disability as part of your prior
  claim and you will not have to complete another elimination period if:

  - you were continuously insured under the plan for the period between the end of
    your prior claim and your recurrent disability; and
  - your recurrent disability occurs within 6 months from the end of your prior claim.

  Your recurrent disability will be subject to the same terms of the plan as your prior
  claim and will be treated as a continuation of that disability.

  Any disability which occurs after 6 months from the date your prior claim ended will
  be treated as a new claim. The new claim will be subject to all of the policy
  provisions, including the elimination period.

  If you become entitled to payments under any other group long term disability plan,
  you will not be eligible for payments under the Unum plan.




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                             LONG TERM DISABILITY

                          OTHER BENEFIT FEATURES

WHAT BENEFITS WILL BE PROVIDED TO YOU OR YOUR FAMILY IF YOU DIE OR
ARE TERMINALLY ILL? (Survivor Benefit)

  When Unum receives proof that you have died, we will pay your eligible survivor a
  lump sum benefit equal to 3 months of your gross disability payment if, on the date
  of your death:

  - your disability had continued for 180 or more consecutive days; and
  - you were receiving or were entitled to receive payments under the plan.

  If you have no eligible survivors, payment will be made to your estate, unless there
  is none. In this case, no payment will be made.

  However, we will first apply the survivor benefit to any overpayment which may exist
  on your claim.

  You may receive your 3 month survivor benefit prior to your death if you have been
  diagnosed as terminally ill.

  We will pay you a lump sum amount equal to 3 months of your gross disability
  payment if:

  - you have been diagnosed with a terminal illness or condition;
  ~ your life expectancy has been reduced to less than 12 months; and
  - you are receiving monthly payments.

  Your right to exercise this option and receive payment is subject to the following:

  - you must make this election in writing to Unum; and
  - your physician must certify in writing that you have a terminal illness or condition
    and your life expectancy has been reduced to less than 12 months.

  This benefit is available to you on a voluntary basis and will only be payable once.

  If you elect to receive this benefit prior to your death, no 3 month survivor benefit will
  be payable upon your death.

WHAT IF YOU ARE NOTIN ACTIVE EMPLOYMENT WHEN YOUR EMPLOYER
CHANGES INSURANCE CARRIERS TO UNUM? (Continuity of Coverage)

  When the plan becomes effective, Unum will provide coverage for you if:

  - you are not in active employment because of a sickness or injury; and
  - you were covered by the prior policy.

  Your coverage is subject to payment of premium.

  Your payment will be limited to the amount that would have been paid by the prior
  carrier. Unum will reduce your payment by any amount for which your prior carrier is
  liable.



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WHAT IF YOU HAVE A DISABILITY DUE TO A PRE-EXISTING CONDITION WHEN
YOUR EMPLOYER CHANGES INSURANCE CARRIERS TO UNUM? (Continuity of
Coverage)

  Unum may send a payment if your disability results from a pre-existing condition if,
  you were:


  - in active employment and insured under the plan on its effective date; and
  - insured by the prior policy at the time of change.

  In order to receive a payment you must satisfy the pre-existing condition provision
  under:

  1. the Unum plan; or
  2. the prior carrier's plan, if benefits would have been paid had that policy remained
     in force.

  If you do not satisfy Item 1 or 2 above, Unum will not make any payments.

  If you satisfy Item 1 , we will determine your payments according to the Unum plan
  provisions.

  If you only satisfy Item 2, we will administer your claim according to the Unum plan
  provisions. However, your payment will be the lesser of:

  a. the monthly benefit that would have been payable under the terms of the prior
     plan if it had remained inforce; or
  b. the monthly payment under the Unum plan.

  Your benefits will end on the earlier of the following dates:

  1 . the end of the maximum benefit period under the plan; or
  2. the date benefits would have ended under the prior plan if it had remained in
      force.

HOW CAN UNUM’S REHABILITATION AND RETURN TO WORK ASSISTANCE
PROGRAM HELP YOU RETURN TO WORK?

  Unum has a vocational Rehabilitation and Return to Work Assistance program
  available to assist you in returning to work. We will determine whether you are
  eligible for this program. In order to be eligible for rehabilitation services and
  benefits, you must be medically able to engage in a return to work program.

  Your claim file will be reviewed by one of Unum's rehabilitation professionals to
  determine if a rehabilitation program might help you return to gainful employment.
  As your file is reviewed, medical and vocational information will be analyzed to
  determine an appropriate return to work program.

  We will make the final determination of your eligibility for participation in the
  program.


  We will provide you with a written Rehabilitation and Return to Work Assistance plan
  developed specifically for you.




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  The rehabilitation program may include, but is not limited to, the following services
  and benefits:

  - coordination with your Employer to assist you to return to work;
  - adaptive equipment or job accommodations to allow you to work;
  - vocational evaluation to determine how your disability may impact your
    employment options;
  - job placement services;
  - resume preparation;
  - job seeking skills training; or
  - education and retraining expenses fora new occupation.

WHAT ADDITIONAL BENEFITS WILL UNUM PAY WHILE YOU PARTICIPATE IN A
REHABIUTA TION AND RETURN TO WORK ASSISTANCE PROGRAM?

  We will pay an additional disability benefit of 1 0% of your gross disability payment to
  a maximum benefit of $1 ,000 per month.

  This benefit is not subject to policy provisions which would otherwise increase or
  reduce the benefit amount such as Deductible Sources of Income. However, the
  Total Benefit Cap will apply.

  In addition, we will make monthly payments to you for 3 months following the date
  your disability ends If we determine you are no longer disabled while:

  - you are participating in the Rehabilitation and Return to Work Assistance program;
    and
  - you are not able to find employment.

  This benefit payment may be paid in a lump sum.

WHEN WILL REHABILITATION AND RETURN TO WORK ASSISTANCE BENEFITS
END?

  Benefits for the Rehabilitation and Return to Work Assistance program will end on
  the earliest of the following dates:

  - the date Unum determines that you are no longer eligible to participate in Unum's
    Rehabilitation and Return to Work Assistance program; or
  - any other date on which monthly payments would stop in accordance with this
    plan.

WHAT ADDITIONAL BENEFIT IS AVAILABLE FOR DEPENDENT CARE EXPENSES
TO ENABLE YOU TO PARTICIPATE IN UNUM’S REHABILITATION AND RETURN
TO WORK ASSISTANCE PROGRAM?

  While you are participating in Unum’s Rehabilitation and Return to Work Assistance
  program, we will pay a Dependent Care Expense Benefit when you are disabled and
  you:


  1 . are incurring expenses to provide care for a child under the age of 1 5; and/or
  2. start incurring expenses to provide care for a child age 15 or older or a family
      member who needs personal care assistance.




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  The payment of the Dependent Care Expense Benefit will begin immediately after
  you start Unum's Rehabilitation and Return to Work Assistance program.

  Our payment of the Dependent Care Expense Benefit will:

  1 . be $350 per month, per dependent; and
  2. not exceed $1 ,000 per month for all dependent care expenses combined.

  To receive this benefit, you must provide satisfactory proof that you are incurring
  expenses that entitle you to the Dependent Care Expense Benefit.

  Dependent Care Expense Benefits will end on the earlier of the following:

  1 . the date you are no longer incurring expenses for your dependent;
  2. the date you no longer participate in Unum's Rehabilitation and Return to Work
      Assistance program; or
  3. any other date payments would stop in accordance with this plan.




                                LTD-OTR-4 (1/1/2020)
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                                 OTHER SERVICES

These services are also available from us as part of your Unum Long Term Disability
plan.

HOW CAN UNUM HELP YOUR EMPLOYER IDENTIFY AND PROVIDE WORKSITE
MODIFICATION?

   A worksite modification might be what is needed to allow you to perform the material
   and substantial duties of your regular occupation with your Employer. One of our
   designated professionals will assist you and your Employer to identify a modification
   we agree is likely to help you remain at work or return to work. This agreement will
   be in writing and must be signed by you, your Employer and Unum.

   When this occurs, Unum will reimburse your Employer for the cost of the
   modification, up to the greater of:

   - $1,000; or
   - the equivalent of 2 months of your monthly benefit.

   This benefit is available to you on a one time only basis.

HOW CAN UNUM’S SOCIAL SECURITY CLAIMANT ADVOCACY PROGRAM
ASSIST YOU WITH OBTAINING SOCIAL SECURITY DISABILITY BENEFITS?

   In order to be eligible for assistance from Unum's Social Security claimant advocacy
   program, you must be receiving monthly payments from us. Unum can provide
   expert advice regarding your claim and assist you with your application or appeal.

   Receiving Social Security benefits may enable:

   - you to receive Medicare after 24 months of disability payments;
   - you to protect your retirement benefits; and
   - your family to be eligible for Social Security benefits.

   We can assist you in obtaining Social Security disability benefits by:

   - helping you find appropriate legal representation;
   - obtaining medical and vocational evidence; and
   - reimbursing pre-approved case management expenses.




                                SERVICES-1 (1/1/2020)
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                                      GLOSSARY

ACTIVE EMPLOYMENT means you are working for your Employer for earnings that
are paid regularly and that you are performing the material and substantial duties of
your regular occupation. You must be working at least the minimum number of hours
as described under Eligible Group(s) in each plan.

Your work site must be:

- your Employer's usual place of business;
- an alternative work site at the direction of your Employer, including your home; or
- a location to which your job requires you to travel.

Normal vacation is considered active employment.
Temporary and seasonal workers are excluded from coverage.

DEDUCTIBLE SOURCES OF INCOME means income from deductible sources listed in
the plan which you receive or are entitled to receive while you are disabled. This
income will be subtracted from your gross disability payment.

DEPENDENT means:

- your child(ren) under the age of 15; and
- your child(ren) age 1 5 or over or a family member who requires personal care
  assistance.

DISABILITY EARNINGS means the earnings which you receive while you are disabled
and working, plus the earnings you could receive if you were working to your maximum
capacity.

ELIMINATION PERIOD means a period of continuous disability which must be satisfied
before you are eligible to receive benefits from Unum.

EMPLOYEE means a person who is in active employment in the United States with the
Employer.

EMPLOYER means the Policyholder, and includes any division, subsidiary or affiliated
company named in the policy.

EVIDENCE OF INSURABILITY means a statement of your medical history which Unum
will use to determine if you are approved for coverage. Evidence of insurability will be
at Unum's expense.

GAINFUL OCCUPATION means an occupation that is or can be expected to provide
you with an income within 12 months of your return to work, that exceeds:

80% of your indexed monthly earnings, if you are working; or
60% of your indexed monthly earnings, if you are not working.

GOVERNMENTAL RETIREMENT SYSTEM means a plan which is part of any federal,
state, county, municipal or association retirement system, including but not limited to, a
state teachers retirement system, public employees retirement system or other similar
retirement system for state or local government employees providing for the payment of
retirement and/or disability benefits to individuals.




                                GLOSSARY-1 (1/1/2020)
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GRACE PERIOD means the period of time following the premium due date during
which premium payment may be made.

GROSS DISABILITY PAYMENT means the benefit amount before Unum subtracts
deductible sources of income and disability earnings.

HOSPITAL OR INSTITUTION means an accredited facility licensed to provide care and
treatment for the condition causing your disability.

INDEXED MONTHLY EARNINGS means your monthly earnings adjusted on each
anniversary of benefit payments by the lesser of 10% or the current annual percentage
increase in the Consumer Price Index. Your indexed monthly earnings may increase or
remain the same, but will never decrease.

The Consumer Price Index (CPI-U) is published by the U.S. Department of Labor.
Unum reserves the right to use some other similar measurement if the Department of
Labor changes or stops publishing the CPI-U.

Indexing is only used as a factor in the determination of the percentage of lost earnings
while you are disabled and working and in the determination of gainful occupation.

INJURY means a bodily injury that is the direct result of an accident and not related to
any other cause. Disability must begin while you are covered under the plan.

INSURED means any person covered under a plan.

LAW, PLAN OR ACT means the original enactments of the law, plan or act and all
amendments.

LAYOFF or LEAVE OF ABSENCE means you are temporarily absent from active
employment for a period of time that has been agreed to in advance in writing by your
Employer.

Your normal vacation time or any period of disability is not considered a temporary
layoff or leave of absence.

LIMITED means what you cannot or are unable to do.

MATERIAL AND SUBSTANTIAL DUTIES means duties that:

- are normally required for the performance of your regular occupation; and
- cannot be reasonably omitted or modified.

MAXIMUM CAPACITY means, based on your restrictions and limitations:

- during the first 24 months of disability, the greatest extent of work you are able to do
  in your regular occupation, that is reasonably available.
- beyond 24 months of disability, the greatest extent of work you are able to do in any
 occupation, that is reasonably available, for which you are reasonably fitted by
 education, training or experience.

MAXIMUM PERIOD OF PAYMENT means the longest period of time Unum will make
payments to you for any one period of disability.




                                GLOSSARY-2 (1/1/2020)
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MENTAL ILLNESS means a psychiatric or psychological condition classified in the
Diagnostic and Statistical Manual of Mental Health Disorders (DSM), published by the
American Psychiatric Association, most current as of the start of a disability. Such
disorders include, but are not limited to, psychotic, emotional or behavioral disorders, or
disorders relatable to stress. If the DSM is discontinued or replaced, these disorders
will be those classified in the diagnostic manual then used by the American Psychiatric
Association as of the start of a disability.

MONTHLY BENEFIT means the total benefit amount for which an employee is insured
under this plan subject to the maximum benefit.

MONTHLY EARNINGS means your gross monthly income from your Employer as
defined in the plan.

MONTHLY PAYMENT means your payment after any deductible sources of income
have been subtracted from your gross disability payment.

PART-TIME BASIS means the ability to work and earn between 20% and 80% of your
indexed monthly earnings.

PAYABLE CLAIM means a claim for which Unum is liable under the terms of the policy.

PHYSICIAN means:

- a person performing tasks that are within the limits of his or her medical license; and
- a person who is licensed to practice medicine and prescribe and administer drugs or
  to perform surgery; or
- a person with a doctoral degree in Psychology (Ph.D. or Psy.D.) whose primary
  practice is treating patients; or
- a person who is a legally qualified medical practitioner according to the laws and
  regulations of the governing jurisdiction.

Unum will not recognize you, or your spouse, children, parents or siblings as a
physician for a claim that you send to us.

PLAN means a line of coverage under the policy.

POLICYHOLDER means the Employer to whom the policy is issued.

PRE-EXISTING CONDITION means a condition for which you received medical
treatment, consultation, care or services including diagnostic measures, or took
prescribed drugs or medicines for your condition during the given period of time as
stated in the plan.

RECURRENT DISABILITY means a disability which is:

- caused by a worsening in your condition; and
- due to the same cause(s) as your prior disability for which Unum made a disability
  payment.




                                GLOSSARY-3 (1/1/2020)
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REGULAR CARE means:

- you personally visit a physician as frequently as is medically required, according to
  generally accepted medical standards, to effectively manage and treat your disabling
  condition(s); and
- you are receiving the most appropriate treatment and care which conforms with
  generally accepted medical standards, for your disabling condition(s) by a physician
  whose specialty or experience is the most appropriate for your disabling condition(s),
  according to generally accepted medical standards.

REGULAR OCCUPATION means the occupation you are routinely performing when
your disability begins. Unum will look at your occupation as it is normally performed in
the national economy, instead of how the work tasks are performed for a specific
employer or at a specific location.

RETIREMENT PLAN means a defined contribution plan or defined benefit plan. These
are plans which provide retirement benefits to employees and are not funded entirely by
employee contributions. Retirement Plan does not include any plan which is part of any
governmental retirement system.

SALARY CONTINUATION OR ACCUMULATED SICK LEAVE means continued
payments to you by your Employer of all or part of your monthly earnings, after you
become disabled as defined by the Policy. This continued payment must be part of an
established plan maintained by your Employer for the benefit of all employees covered
under the Policy. Salary continuation or accumulated sick leave does not include
compensation paid to you by your Employer for work you actually perform after your
disability begins. Such compensation is considered disability earnings, and would be
taken into account in calculating your monthly payment

SELF-REPORTED SYMPTOMS means the manifestations of your condition which you
tell your physician, that are not verifiable using tests, procedures or clinical
examinations standardly accepted in the practice of medicine. Examples of self-reported
symptoms include, but are not limited to headaches, pain, fatigue, stiffness, soreness,
ringing in ears, dizziness, numbness and loss of energy.

SICKNESS means an illness or disease. Disability must begin while you are covered
under the plan.

SURVIVOR, ELIGIBLE means your spouse, if living; otherwise your children under age
25 equally.

TOTAL COVERED PAYROLL means the total amount of monthly earnings for which
employees are insured under this plan.

WAITING PERIOD means the continuous period of time (shown in each plan) that you
must be in active employment in an eligible group before you are eligible for coverage
under a plan.

WE, US and OUR means Unum Life Insurance Company of America.

YOU means an employee who is eligible for Unum coverage.




                               GLOSSARY-4 (1/1/2020)
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                 LONG TERM DISABILITY/SHORT TERM DISABILITY


     THE FOLLOWING NOTICES AND CHANGES TO YOUR COVERAGE ARE
        REQUIRED BY CERTAIN STATES. PLEASE READ CAREFULLY.

State variations apply and are subject to change. Consult your employer or plan
administrator for the most current state provisions that may apply to you.

If you have a complaint about your insurance you may contact Unum at 1-800-321-
3889, or the department of insurance in your state of residence. Links to the websites of
each state department of insurance can be found at www.naic.org.

Si usted tiene alguna queja acerca de su seguro puede comunicarse con Unum al 1-
800-321-3889, o al departamento de seguros de su estado de residencla.
Puede encontrar enlaces a los sitios web de los departamentos de seguros de cada
estado en www.naic.ora.

The states of Florida and Maryland require us to advise residents of those states that if
your Certificate was issued in ajurisdiction other than the state in which you reside, it
may not provide all of the benefits required by the laws of your residence state.

Full effect will be given to your state's civil union, domestic partner and same sex
marriage laws to the extent they apply to you under a group insurance policy issued in
another state.

If you are a resident of one of the states noted below, and the provisions
referenced below appear in your Certificate In a form less favorable to you as an
insured, they are amended as follows:


                               For residents of Colorado:

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy is amended so that if the last number is
greater than 12 months, it is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it
will be applied only if the disability begins in the first 1 2 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.

The WHAT DISABILITIES ARE NOT COVERED UNDER YOUR PLAN? provision in
the BENEFIT INFORMATION section of the policy and in the SPOUSE DISABILITY
BENEFIT provision in the OTHER BENEFIT FEATURES section of the policy is
amended to provide that any exclusion for disabilities caused by, contributed to by, or
resulting from your intentionally self-inflicted injuries will be applied only if you were
sane when the injury was inflicted.

                               For residents of Louisiana:

The HOW CAN STATEMENTS IN YOUR APPLICATION FOR THIS COVERAGE BE
USED? provision in the GENERAL PROVISIONS section of the policy is amended to
provide that, except for fraud, misstatements made in your application cannot be used
to reduce or deny coverage If your coverage has been in force for at least 3 years.




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                               For residents of Minnesota:

The HOW CAN STATEMENTS IN YOUR APPLICATION FOR THIS COVERAGE BE
USED? provision in the GENERAL PROVISIONS section of the policy is amended to
provide that, except for fraud, misstatements made in your application cannot be used
to reduce or deny coverage if your coverage has been in force for at least 2 years.

The WHAT ARE DEDUCTIBLE SOURCES OF INCOME? provision in the BENEFIT
INFORMATION section of the policy is amended so that deductible sources of income
will not include any amounts you receive as mandatory portions of any "no fault" motor
vehicle plan or any amounts received from a third party (after subtracting attorney's
foes) by judgment, settlement or otherwise, until after you have been fully compensated
from this other source.

The Pre-existing Condition exclusion in the BENEFIT INFORMATION section of the
policy will be applied by deleting the phrase "or you had symptoms for which an
ordinarily prudent person would have consulted a health care provider.”

If your coverage includes the Spouse Disability Rider benefit the exclusions for mental
illness and alcoholism applicable to the rider are removed.

                                For residents of Montana:

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy Is amended sc that if the last number is
greater than 12 months, it is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it
will be applied only if the disability begins in the first 12 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.

The definition of pre-existing condition found in the provisions WHAT DISABILITIES
ARE NOT COVERED UNDER YOUR PLAN? and WHAT DISABILITIES ARE NOT
COVERED FOR A COST OF LIVING INCREASE? in the BENEFIT INFORMATION
section of the policy, is amended to limit a pre-existing condition to "a sickness or injury
for which you received medical advice or treatment from a provider of health care
services or medical advice or treatment was recommended by a provider of health care
services" during the time period specified in the policy.

                            For residents of New Hampshire:

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy is amended so that if the last number is
greater than 12 months, it is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it
will be applied only if the disability begins in the first 12 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.

The HOW CAN STATEMENTS IN YOUR APPLICATION FOR THIS COVERAGE BE
USED? provision In the GENERAL PROVISIONS section of the policy is amended to
provide that, except for fraud, misstatements made in your application cannot be used
to reduce or deny coverage if your coverage has been in force for at least 2 years.




                             GDIS-STATEVAR-2 (1/1/2020)
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                             For residents of North Carolina:

The definition of pre-existing condition found in the provisions WHAT DISABILITIES
ARE NOT COVERED UNDER YOUR PLAN? and WHAT DISABILITIES ARE NOT
COVERED FOR A COST OF LIVING INCREASE? in the BENEFIT INFORMATION
section of the policy, is amended by removing any reference to "symptoms arising from
the sickness or injury, whether diagnosed or not."

                             For residents of South Carolina:

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy is amended so that if the last number is
greater than 12 months, it is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it
will be applied only if the disability begins in the first 12 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.

The WHAT IF YOU HAVE A DISABILITY DUE TO A PRE-EXISTING CONDITION
WHEN YOUR EMPLOYER CHANGES INSURANCE CARRIERS TO UNUM? provision
in the BENEFIT INFORMATION section of the policy, is amended to provide that Unum
will credit the pre-existing condition period you satisfied under another similar group
disability policy if you were covered under the prior policy within 30 days of being
effective under this policy and you applied for this coverage when you first became
eligible.

                             For residents of South Dakota:

The Pre-existing Condition limitation in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy is amended so that if the last number is
greater than 12 months, it is reduced to 12 months and any Pre-existing Condition
limitation in the BENEFIT INFORMATION section of the policy is amended so that it will
be applied only if the disability begins in the first 12 months after the insured's effective
date of coverage for the applicable benefit, or such shorter time as provided in the
policy.

                                  For residents of Texas:

The HOW CAN STATEMENTS IN YOUR APPLICATION FOR THIS COVERAGE BE
USED? provision in the GENERAL PROVISIONS section of the policy is amended to
provide that, except for fraud, misstatements made in your application cannot be used
to reduce or deny coverage if your coverage has been in force for at least 2 years.

The Pre-existing Condition exclusion in the BENEFIT INFORMATION section of the
policy will be applied by deleting the phrase "or you had symptoms for which an
ordinarily prudent person would have consulted a health care provider."

                                  For residents of Utah:

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy Is amended so that If the last number is
greater than 12 months, It is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it




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will be applied only if the disability begins in the first 12 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.

The HOW CAN STATEMENTS IN YOUR APPLICATION FOR THIS COVERAGE BE
USED? provision in the GENERAL PROVISIONS section of the policy Is amended to
provide that, except for fraud, misstatements made in your application cannot be used
to reduce or deny coverage if your coverage has been in force for at least 2 years.

                               For residents of Vermont:

If the policy is marketed in Vermont, the policyholder has a principal office or is
organized in Vermont, or there are more than 25 Vermont residents insured under the
policy:

The limitation specifying the number of months payments will be made for a disability
caused by a mental and nervous condition is removed.

The MINIMUM HOURS REQUIREMENT stated in the BENEFITS AT A GLANCE
section of the policy is reduced to 17.5 hours per week.

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy is amended so that if the last number
is greater than 12 months, it Is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it
will be applied only if the disability begins in the first 12 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.                 ,

                             For residents of West Virginia:

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy is amended so that if the last number is
greater than 12 months, It is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it
will be applied only if the disability begins in the first 12 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.

                              For residents of Wisconsin:

The Pre-existing Condition exclusion in the OTHER FEATURES provision of the
BENEFITS AT A GLANCE section of the policy is amended so that if the last number is
greater than 12 months, it is reduced to 12 months and any Pre-existing Condition
exclusion in the BENEFIT INFORMATION section of the policy is amended so that it
will be applied only if the disability begins In the first 12 months after the insured's
effective date of coverage for the applicable benefit, or such shorter time as provided in
the policy.




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                     Additional Claim and Appeal information
Relative to policy issued by Unum Life Insurance Company of America ("Unum")


APPLICABILITY OF ERISA

  If the policy provides benefits under a Plan which is subject to the Employee
  Retirement Income Security Act of 1974 (ERISA), the following provisions apply.
  Whether a Plan is governed by ERISA is determined by a court, however, your
  Employer may have information related to ERISA applicability. If ERISA applies, the
  following items constitute the Plan: the additional information contained in this
  document, the policy, including your certificate ofcoverage, and any additional
  summary plan description information provided by the Plan Administrator. Benefit
  determinations are controlled exclusively by the policy, your certificate of coverage,
  and the information in this document.

HOWTO FILE A CLAIM

  If you wish to file a claim for benefits, you should follow the claim procedures
  described in your insurance certificate. To complete your claim filing, Unum must
  receive the claim information it requests from you (or your authorized
  representative), your attending physician and your Employer. If you or your
  authorized representative has any questions about what to do, you or your
  authorized representative should contact Unum directly.

CLAIMS PROCEDURES

  Unum will give you notice of the decision no later than 45 days after the claim is
  filed. This time period may be extended twice by 30 days if Unum both determines
  that such an extension Is necessary due to matters beyond the control of the Plan
  and notifies you of the circumstances requiring the extension of time and the date by
  which Unum expects to render a decision. If such an extension is necessary due to
  your failure to submit the information necessary to decide the claim, the notice of
  extension will specifically describe the required Information, and you will be afforded
  at least 45 days within which to provide the specified information. If you deliver the
  requested information within the time specified, any 30 day extension period will
  begin after you have provided that information. If you fail to deliver the requested
  information within the time specified, Unum may decide your claim without that
  information.

  If your claim for benefits is wholly or partially denied, the notice of adverse benefit
  determination under the Plan will:

  - state the specific reason(s) for the determination;

  - reference specific Plan provlsion(s) on which the determination is based;

  - describe additional material or information necessary to complete the claim and
    why such information is necessary;

  - describe Plan procedures and time limits for appealing the determination, and your
    right to obtain information about those procedures and the right to bring a lawsuit
    under Section 502(a) of ERISA following an adverse determination from Unum on
    appeal; and




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   - disclose any internal rule, guidelines, protocol or similar criterion relied on in
     making the adverse determination (or state that such information will be provided
     free of charge upon request).

   Notice of the determination may be provided in written or electronic form. Electronic
   notices will be provided in a form that complies with any applicable legal
   requirements.

APPEAL PROCEDURES

   You have 1 80 days from the receipt of notice of an adverse benefit determination to
   file an appeal. Requests for appeals should be sent to the address specified in the
   claim denial. A decision on review will be made not later than 45 days following
   receipt of the written request for review. If Unum determines that special
   circumstances require an extension of time for a decision on review, the review
   period may be extended by an additional 45 days (90 days in total). Unum will notify
   you in writing if an additional 45 day extension is needed.

   If an extension is necessary due to your failure to submit the information necessary
   to decide the appeal, the notice of extension will specifically describe the required
   information, and you will be afforded at least 45 days to provide the specified
   information. If you deliver the requested information within the time specified, the 45
   day extension of the appeal period will begin after you have provided that
   information. If you fail to deliver the requested information within the time specified,
   Unum may decide your appeal without that information.

   You will have the opportunity to submit written comments, documents, or other
   information in support of your appeal. You will have access to all relevant
   documents as defined by applicable U.S. Department of Labor regulations. The
   review of the adverse benefit determination will take into account all new
   information, whether or not presented or available at the initial determination. No
   deference will be afforded to the initial determination.

   The review will be conducted by Unum and will be made by a person different from
   the person who made the initial determination and such person will not be the
   original decision maker's subordinate. In the case of a claim denied on the grounds
   of a medical Judgment, Unum will consult with a health professional with appropriate
   training and experience. The health care professional who is consulted on appeal
   will not be the individual who was consulted during the initial determination or a
   subordinate. If the advice of a medical or vocational expert was obtained by the
   Plan in connection with the denial of your claim, Unum will provide you with the
   names of each such expert, regardless of whether the advice was relied upon.

   A notice that your request on appeal is denied will contain the following information:

   - the specific reason(s) for the determination;

   - a reference to the specific Plan provision(s) on which the determination is based;

   - a statement disclosing any internal rule, guidelines, protocol or similar criterion
     relied on in making the adverse determination (or a statement that such
     information will be provided free of charge upon request);




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   - a statement describing your right to bring a lawsuit under Section 502(a) of ERISA
     if you disagree with the decision;

   - the statement that you are entitled to receive upon request, and without charge,
     reasonable access to or copies of all documents, records or other information
     relevant to the determination; and

   - the statement that "You or your Plan may have other voluntary alternative dispute
     resolution options, such as mediation. One way to find out what may be available
     is to contact your local U.S. Department of Labor Office and your State insurance
     regulatory agency”.

   Notice of the determination may be provided in written or electronic form. Electronic
   notices will be provided in a form that complies with any applicable legal
   requirements.

   Unless there are special circumstances, this administrative appeal process must be
   completed before you begin any legal action regarding your claim.

OTHER RIGHTS

   Unum, for itself and as claims fiduciary for the Plan, is entitled to legal and equitable
   relief to enforce its right to recover any benefit overpayments caused by your receipt
   of disability earnings or deductible sources of income from a third party. This right of
   recovery is enforceable even if the amount you receive from the third party is less
   than the actual loss suffered by you but will not exceed the benefits paid you under
   the policy. Unum and the Plan have an equitable lien over such sources of income
   until any benefit overpayments have been recovered in full.




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      Addendum to the "Additional Summary Plan Description Information"
              Included with your certificate of coverage or policy
             and effective for claims filed on or after April 1, 2018.

   The regulations governing ERISA disability claims and appeals have been amended.
   The amended regulations apply to disability claims filed on or after April 1 , 201 8. To
   the extent the Additional Summary Plan Description Information included with your
   certificate of coverage or policy conflicts with these new requirements, these new
   rights and procedures will apply.

   These new rights and procedures include:

   Any cancellation or discontinuance of your disability coverage that has a retroactive
   effect will be treated as an adverse benefit determination, except in the case of
   failure to timely pay required premiums or contributions toward the cost of coverage.

   If you live in a county with a significant population of non-English speaking persons,
   the plan will provide, in the non-English language(s), a statement of how to access
   oral and written language services in those languages.

   For any adverse benefit determination, you will be provided with an explanation of
   the basis for disagreeing or not following the views of: (1) health care professionals
   who have treated you or vocational professionals who have evaluated you; (2) the
   advice of medical or vocational professionals obtained on behalf of the plan; and (3)
   any disability determination made by the Social Security Administration regarding
   you and presented to the plan by you.

   For any adverse benefit determination, you will be given either the specific internal
   rules, guidelines, protocols, standards or other similar criteria of the plan relied upon
   in making that decision, or a statement that such rules, etc. do not exist.

   Prior to a final decision being made on an appeal, you will have the opportunity to
   review and respond to any new or additional rationale or evidence considered, relied
   upon, or generated by the plan in connection with your claim.

   If an adverse benefit determination is upheld on appeal, you will be given notice of
   any applicable contractual limitations period that applies to your right to bring legal
   proceedings and the calendar date on which that period expires.

   Should the plan fail to establish or follow ERISA required disability claims
   procedures, you may be entitled to pursue legal remedies under section 502(a) of
   the Act without exhausting your administrative remedies, as more completely set
   forth in section 503-1(1).




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                            Our Commitment to Privacy

 We understand your privacy is important. We value our relationship with you and are
 committed to protecting the confidentiality of nonpublic personal information (NPI). This
 notice explains why we collect NPI, what we do with NPI and how we protect your
 privacy.

 COLLECTING INFORMATION
 We collect NPI about our customers to provide them with insurance products and
 services. This may include telephone number, address, date of birth, occupation,
 income and health history. We may receive NPI from your applications and forms,
 medical providers, other insurers, employers, insurance support organizations and
 service providers.

 SHARING INFORMATION
 We share the types of NPI described above primarily with people who perform
 insurance, business and professional services for us, such as helping us pay claims and
detect fraud. We may share NPI with medical providers for insurance and treatment
purposes. We may share NPI with an insurance support organization. The organization
may retain the NPI and disclose it to others for whom it performs services. In certain
cases, we may share NPI with group policyholders for reporting and auditing purposes.
We may share NPI with parties to a proposed or final sale of insurance business or for
study purposes. We may also share NPI when otherwise required or permitted by law,
such as sharing with governmental or other legal authorities. When legally necessary,
we ask your permission before sharing NPI about you. Our practices apply to our
former, current and future customers.

Please be assured we do not share your health NPI to market any product or service.
We also do not share any NPI to market non-financial products and services. For
example, we do not sell your name to catalog companies.

The law allows us to share NPI as described above (except health information) with
affiliates to market financial products and services. The law does not allow you to
restrict these disclosures. We may also share with companies that help us market our
insurance products and services, such as vendors that provide mailing services to us.
We may share with other financial institutions to jointly market financial products and
services. When required by law, we ask your permission before we share NPI for
marketing purposes.

When other companies help us conduct business, we expect them to follow applicable
privacy laws. We do not authorize them to use or share NPI except when necessary to
conduct the work they are performing for us or to meet regulatory or other governmental
requirements.

Unum companies, including insurers and insurance service providers, may share NPI
about you with each other. The NPI might not be directly related to our transaction or
experience with you. It may include financial or other personal information such as
employment history. Consistent with the Fair Credit Reporting Act, we ask your
permission before sharing NPI that is not directly related to our transaction or
experience with you.

COVERAGE DECISIONS
If we decide not to Issue coverage to you, we will provide you with the specific reason(s)
for our decision. We will also tell you how to access and correct certain NPI.




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 ACCESS TO INFORMATION
 You may request access to certain NPI we collect to provide you with insurance
 products and services. You must make your request in writing and send it to the
 address below. The letter should include your full name, address, telephone number
 and policy number if we have issued a policy. If you request, we will send copies of the
 NPI to you. If the NPI includes health information, we may provide the health
 information to you through a health care provider you designate. We will also send you
 information related to disclosures. We may charge a reasonable fee to cover our
 copying costs.

This section applies to NPI we collect to provide you with coverage. It does not apply to
NPI we collect in anticipation of a claim or civil or criminal proceeding.

CORRECTION OF INFORMATION
If you believe the NPI we have about you is incorrect, please write to us. Your letter
should include your full name, address, telephone number and policy number if we have
issued a policy. Your letter should also explain why you believe the NPI is inaccurate. If
we agree with you, we will correct the NPI arid notify you of the correction. We will also
notify any person who may have received the incorrect NPI from us in the past two
years if you ask us to contact that person.

If we disagree with you, we will tell you we are not going to make the correction. We will
give you the reason(s) for our refusal. We will also tell you that you may submit a
statement to us. Your statement should include the NPI you believe is correct. It should
also include the reason(s) why you disagree with our decision not to correct the NPI in
our files. We will file your statement with the disputed NPI. We will include your
statement any time we disclose the disputed NPI. We will also give the statement to any
person designated by you if we may have disclosed the disputed NPI to that person in
the past two years.

SAFEGUARDING INFORMATION
We have physical, electronic and procedural safeguards that protect the confidentiality
and security of NPI. We give access only to employees who need to know the NPI to
provide Insurance products or services to you.


CONTACTING US
For additional information about Unum's commitment to privacy and to view a copy of
our HIPAA Privacy Notice, please visit unum.com/privacv or coloniallife.com. You may
also write to: Privacy Officer, Unum, 221 1 Congress Street, C476, Portland, Maine
04122.

We reserve the right to modify this notice. We will provide you with a new notice if we
make material changes to our privacy practices.
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Unum is providing this notice to you on behalf of the following insuring companies: Unum Life Insurance
Company of America, Unum Insurance Company, First Unum Life Insurance Company, Provident Life
and Accident Insurance Company, Provident Life and Casualty Insurance Company, Colonial Life &
Accident insurance Company and The Paul Revere Life Insurance Company.


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                NOTICE CONCERNING COVERAGE LIMITATIONS AND
                 EXCLUSIONS UNDER THE OHIO LIFE AND HEALTH
                     INSURANCE GUARANTY ASSOCIATION ACT

 Residents of Ohio who purchase life insurance, annuities or health insurance should
 know that the insurance companies licensed in this state to write these types of
 insurance are members of the Ohio Life and Health Insurance Guaranty Association.
 The purpose of this association is to assure that policyholders will be protected, within
 limits, In the unlikely event that a member insurer becomes financially unable to meet its
 obligations. If this should happen, the guaranty association will assess its other
 member Insurance companies for the money to pay the claims of insured persons who
 live in this state and, in some cases, to keep coverage in force. The valuable extra
 protection provided by these insurers through the guaranty association is not unlimited,
 however. And, as noted in the box below, this protection is not a substitute for
 consumers' care in selecting companies that are well-managed and financially stable.

 The Ohio Life and Health Insurance Guaranty Association may not provide
 coverage for this policy. If coverage is provided, it may be subject to substantial
 limitations or exclusions, and require continued residency in Ohio. You should
 not rely on coverage by the Ohio Life and Health Insurance Guaranty Association
 in selecting an insurance company or in selecting an insurance policy.

Coverage is NOT provided for your policy or any portion of it that is not
guaranteed by the insurer or for which you have assumed the risk, such as a
variable contract sold by prospectus. You should check with your Insurance
company representative to determine If you are only covered In part or not
covered at all.

Insurance companies or their agents are required by law to give or send you this
notice. However, insurance companies and their agents are prohibited bv law
from using the existence of the guaranty association to induce you to purchase
any kind of Insurance policy.

                Ohio Life and Health Insurance Guaranty Association
                           5005 Horizons Drive, Suite 200
                               Columbus, OH 43220

                             Ohio Department of Insurance
                                 50 West Town Street
                                 Third Floor, Suite 300
                                 Columbus, OH 43215

The state law that provides for this safety-net coverage is called the Ohio Life and
Health Insurance Guaranty Association Act. On the back of this page is a brief
summary of this law's coverages, exclusions and limits. This summary does not cover
all provisions of the law; nor does it in any way change anyone's rights or obligations
under the act or the rights or obligations of the guaranty association.

COVERAGE

Generally, individuals will be protected by the life and health Insurance guaranty
association if they live in Ohio and hold a life or health insurance contract, annuity
contract, unallocated annuity contract, if they are insured under a group insurance
contract, issued by a member insurer, or if they are the payee or beneficiary of a




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 structured settlement annuity contract. The beneficiaries, payees or assignees of
 insured persons are protected as well, even if they live in another state.

 EXCLUSIONS FROM COVERAGE

 However, persons holding such policies are not protected by this association if:

- they are eligible for protection under the laws of another state (this may occur when
  the insolvent insurer was incorporated In another state whose guaranty association
  protects insureds who live outside that state);
- the insurer was not authorized to do business in this state;
- their policy was issued by a medical, health or dental care corporation, an HMO, a
  fraternal benefit society, a mutual protective association or similar plan in which the
  policyholder is subject to future assessments, or by an insurance exchange.

The association also does not provide coverage for:

- any policy or portion of a policy which is not guaranteed by the insurer or for which the
  individual has assumed the risk, such as a variable contract sold by prospectus;
- any policy of reinsurance (unless an assumption certificate was issued);
- interest rate yields that exceed an average rate;
- dividends;
- credits given in connection with the administration of a policy by a group contract
  holder;
- employers' plans to the extent they are self-funded (that is, not insured by an
  insurance company, even If an insurance company administers them).

 LIMITS ON AMOUNT OF COVERAGE

The act also limits the amount the association is obligated to pay out: The association
cannot pay more than what the insurance company would owe under a policy or
contract. Also, for any one insured life, the association will pay a maximum of
$300,000, except as specified below, no matter how many policies and contracts there
were with the same company, even if they provided different types of coverages. The
association will not pay more than $100,000 in cash surrender values, $500,000 in
major medical Insurance benefits, $300,000 in disability or long-term care insurance
benefits, $100,000 in other health insurance benefits, $250,000 in present value of
annuities, or $300,000 in life insurance death benefits. Again, no matter how many
policies and contracts there were with the same company, and no matter how many
different types of coverages the association will pay a maximum of $300,000, except for
coverage involving major medical insurance benefits, for which the maximum of all
coverages is $500,000.

Note to benefit plan trustees or other holders of unallocated annuities (G/Cs, DA
Cs, etc.) covered by the act: For unallocated annuities that fund governmental
retirement plans under Sec. 401 , 403(b) or 457 of the Internal Revenue Code, the limit
is $250,000 in present value of annuity benefits including net cash surrender and net
cash withdrawal per participating individual. In no event shall the association be liable
to spend more than $300,000 In the aggregate per individual, except as noted above.
For covered unallocated annuities that fund other plans, a special limit of $1 ,000,000
applies to each contractholder, regardless of the number of contracts held with the
same company or number of persons covered. In all cases, of course, the contract
limits also apply.




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 For more information about the Ohio Life & Health Insurance Guaranty Association, visit our
 website at: olhiga.org.




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                                   Disability
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Eligibility requirements                     w......................................2
                                                                                        • STRS Ohio offers two disability benefit programs
    Medical criteria                                                               3
                                                                                          (see Page 2) for members who develop a physical
 Howto apply for disability allowance....................               M..........3      or mental condition that prevents them from
    Benefit effective date                                                         5      performing their most recent job duties.
    Important considerations                                                       6    • STRS Ohio does not offer short-term or partial
Estimating a disability allowance benefit.................                     M..J       disability benefits.
    Estimate your benefit online                                                  .7      — The disabling injury or illness must be
    Estimate your benefit using this brochure                                      7        expected to last 12 months or more from
    Contact SIRS Ohio directly............                                         7        the date STRS Ohio receives a completed
                                                                                                   Disability Application Packet.
Length of disability allowance benefits.................................. 8
Account withdrawal in lieu of benefits ...............M................ 10              • Review the Americans with Disabilities Act and
                                                                                          discuss your needs with your employer to see if
    Account withdrawal restrictions                                              10
                                                                                          accommodations can be made so you can continue
    Monthly payments vs. account withdrawal                                      11       working.
   Spousal consent on account withdrawal                                         11
                                                                                        • You cannot perform any paid or volunteer teaching
   Withdrawal amount                                                             12       services while receiving disability benefits.
   Items to consider                                                             12
                                                                                        • You have the option to apply for service
   Important tax considerations                                                  13       retirement, if you meet eligibility requirements,
   Account withdrawal procedures                                                 13       instead of applying for disability benefits. You
Purchasing service credit .....m......................................m......14           may resume teaching or other public service two
Taxation of disability benefits                                                  14       months after service retirement.

   Federal income tax                                                            14     • You may wish to continue working and seek
   State/Local income tax                                                        14       other employment in the Ohio Public Employees
                                                                                          Retirement System (OPERS) or the School
   Taxable Income                                                                14
                                                                                          Employees Retirement System (SERS) that can be
Health care coverage.....M.......................M.............,.........M..15            combined with STRS Ohio at service retirement in
   Access to health care coverage                                                15       file future.
   Dental and vision coverage                                                    16
                                                                                        If you believe you are no longer physically or
Other important benefits                                        ............    17      mentally able to teach
   Survivor benefits                                                             17     • Watch the Disability Benefits presentation
   Cost-of-living adjustment (COLA)                                              17       (available at www.strsoh.org in the Videos
   Death benefits                                                                         section) for an overview of the application
                                                                                 17
                                                                                          process.
Employment while receiving disability benefits ................... 18
STRS Ohio Resources...............M...........................................20        • Discuss your situation with your medical
                                                                                          specialist and have your specialist's support
  This brochure Is a summary written in plain language for use by SIRS Ohio               before applying for disability benefits.
  members. It Is not Intended as a substitute for the Ohio Revised Code or the
                                                                                        • Speak with an STRS Ohio benefits counselor.
  Ohio Administrative Code or for any state or federal law or regulation, nor
  will its interpretation prevail should a conflict arise between it and any law        • See “How to apply for disability allowance"
  or regulation. More information may be obtained by contacting STRS (Hilo
                                                                                          on Page 3.
  toll-free at 888-227-7877.


                              www. strsoh. org                                                                     888-227-7877
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DEFINED BENEFIT PLAN                                                                                                                    DEFINED BENEFIT PLAN


    Disability allowance overview                                                                       completed application packet (see below through
                                                                                                        Page 5) within one year of the last date of earned
    STRS Ohio has two disability benefit programs for                                                   service with STRS Ohio, OPERS or SERS.
    members participating in the Defined Benefit Plan —
    disability allowance and disability retirement.                                              • Not be receiving service retirement benefits.

    • Teachers who became members of STRS Ohio                                                   a Have the most service credit with STRS Ohio
       after July 29, 1992, participate under the disability                                       (versus OPERS or SERS). If OPERS or SERS has
       allowance program.                                                                          the most service credit, contact the system with
                                                                                                   the most service credit for a Disability Application
    • Teachers who were members of STRS Ohio on
                                                                                                   Packet.
      or before July 29, 1992, participate in either the
      disability allowance or the disability retirement                                          In lieu of receiving monthly disability benefits from
      program. Members who chose the disability                                                  STRS Ohio, members may terminate employment and
       retirement program should read the Disability                                             withdraw their account. For information about account
       Retirement brochure for an explanation of their                                           withdrawal, see Pages 10-13 of this brochure.
       disability benefits.

    Teachers who are also members of OPERS and/or                                                Medical criteria
    SERS must apply for disability benefits with the                                             The medical criteria for a disability allowance are:
    retirement system where they have the most service
    credit. The system with the most service will                                                • A disabling medical condition prevents the
    determine and pay the disability benefit.                                                       individual from performing his or her most recent
                                                                                                   job duties; and
    Members who are unsure of their program selection
    should refer to their Annual Statement ofAccount or                                          •   The condition is expected to last at least 12
    contact STRS Ohio toll-free at 888-227-7877.                                                     continuous months from the date STRS Ohio
                                                                                                     receives the completed Disability Application
                                                                                                     Packet; and

    Eligibility requirements                                                                     • The disability must have occurred since membership
    To qualify for disability allowance benefits, an STRS
                                                                                                   began or, if you previously withdrew your account,
                                                                                                   since you returned to covered service with STRS
    Ohio member must:
                                                                                                   Ohio. Ifyour condition existed at the time you
    • Meet either of the following:                                                                  became a member, it must have increased in severity
                                                                                                     since that time as to make the condition disabling
       — Existing members on June 30, 2013, must have
                                                                                                     under the criteria above.
         at least 5.00 years of qualifying service credit* on
            account with STRS Ohio and submit a completed
            application packet (see Pages 3-5) within two
            years of the last date of contributing service with                                  How to apply for disability allowance
            STRS Ohio, Ohio Public Employees Retirement                                          Apply for disability allowance in a timely manner to
            System (OPERS) or School Employees                                                   avoid exhausting sick leave before the application
            Retirement System of Ohio (SERS).                                                    process is complete. If you are also contributing to
      — New members on or after July 1, 2013, must
                                                                                                 OPERS and/or SERS, the application must be filed
                                                                                                 with the retirement system where you have the most
        have at least 10.00 years of qualifying service
                                                                                                 service credit. Due to the number of different review
        credit* on account with STRS Ohio and submit a
                                                                                                 processes, allow approximately four to six months
    "Qualifying Semite credit Indudes earned credit with STRS Ohio, Ohio Public Employees        for consideration of a disability application. At times,
    Retirement System (OPERS) or School Employees Retirement System (SERS); restored
                                                                                                 disability applicants may be asked to pursue further
    withdrawn credit with STRS Ohio; OPERS or SERS; Interrupted Ohio public sendee due
    to military service; and earned and restored credit that transfers from Ohio Police & Fire
                                                                                                 treatment, delaying a decision regarding approval or
    Pension Fund, Highway Patrol Retirement System or Cincinnati Retirement System.


2                                     www.strsoh.org                                                                     888-227-7877                        3
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DEFINED BENEFIT PLAN                                                                                                          DEFINED BENEFIT PLAN


    dental of disability benefits. Listed below and on                and hospital records or test results from the last 12
    Page 5 is a summary of the steps to follow when                   months that support the disabling condition.
    applying for disability allowance. For the complete
                                                                      Note: You must complete the Authorizationfor
    application process, contact STRS Ohio toll-free at
                                                                      Release ofRetirement Account Information form
    888-227-7877 to request a Disability Application
                                                                      and submit it to STRS Ohio before the disability
    Packet. A presentation providing an overview of the
                                                                      application can be discussed with a family member
    application process is available in the Videos section of
    the STRS Ohio website.
                                                                      or any other individual representing you. This form is
                                                                      available at www.strsoh.org.
    1. Contact STRS Ohio to request a Disability
                                                                3.    An independent medical examiner chosen by STRS
      Application Packet, which includes the following:
                                                                      Ohio will examine you. Most STRS Ohio examiners
      a Disability Benefit Application                                are located in the Columbus, Ohio, area. STRS Ohio
                                                                      pays the examiner’s foe, but not your travel expenses.
      • Report by Employer
                                                                4.    STRS Ohio's Medical Review Board may
      • Attending Physician fr Report to be completed by a
                                                                      recommend a period of medical treatment for up to
        medical specialist
                                                                      six months before a recommendation is made to the
      • Disability Benefit Application Checklist                      State Teachers Retirement Board.

      • Questions andAnswers booklet                            5.    The Medical Review Board evaluates your medical
                                                                      records and makes a recommendation to the
    2. The following forms included in the packet must
                                                                      Retirement Board.
      be completed and received by STRS Ohio before
      processing of the application begins.                     6.    If the Medical Review Board recommends approval
                                                                      of the application, you must stop working by the end
      The Disability Benefit Application should be
                                                                      of that month.
      completed by the applicant or someone acting on
      his or her behalf. The Report by Employer should be       7.    The Retirement Board determines whether the
      returned to STRS Ohio by the employer with a copy of            application for disability benefits is approved.
      your most recent official job description.
                                                                8.    STRS Ohio notifies you of the Retirement Board’s
      Attending Physician i Report requirements:                      decision.

      • The report must be completed by a medical               9.    If the disability application is approved, STRS Ohio
        specialist who is a non-primary care doctor of                requests final average salaiy* (FAS) and service
        medicine (MJ).) or doctor of osteopathic medicine             credit information from your employer to calculate
        (D.O.).                                                       the benefit payments. (Allow at least 90 days from
                                                                      the approval date to receive the first benefit payment.)
      • The physician’s medical specialty must be in
        an area of accepted care for your condition. For        1 0. If the disability application is not approved, informa
        example, a neurologist for multiple sclerosis or a           tion about the appeal process is mailed to you.
        stroke, an oncologist for cancer, an orthopedist for
        degenerative joint disease or a psychiatrist for a
                                                                Benefit effective date
        mental condition.
                                                                If approved, the benefit will become effective on the
      • The medical specialist must have an established
                                                                first day of the month following the latter of:
        therapeutic relationship with you and personally
        examined you within the last two months before          • The last day for which any compensation was paid, or
        the receipt of the complete application packet.
                                                                • The date on which your most recent complete
       Your medical specialist is also responsible for               Disability Application Packet was received by
       submitting medical evidence including your most               STRS Ohio.
       recent office note including in-person examination       •Final average salary (FAS) b the average of your five highest years of Ohio public earnings.


4                         www.strsoh.org                                                              888-227-7877                                              5
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  DEFINED BENEFIT PLAN                                                                                         DEFINED BENEFIT PLAN


      A disability application is considered complete when            the home page.) Disability recipients are required
      all four of the following items have been received by           to report any employment, earnings and volunteer
      STRS Ohio: Disability Benefit Application, Attending            service performed while receiving disability
      Physician's Report from a medical specialist that was           benefits. If this information is not submitted,
      completed based on an in-person exam within the last            disability benefits and health care coverage, if
      two months and includes medical evidence, most recent           applicable, will be terminated.
      official job description from last employer and Report
      by Employer.
                                                                 Estimating a disability allowance
      Important considerations                                   benefit
      •   Members applying for disability benefits should not
                                                                 To estimate disability allowance benefits, you can
          resign. A member who was under contract when
                                                                 use the STRS Ohio website, this brochure or contact
          disability benefits were granted and who has not
                                                                 us directly.
          resigned shall be considered on a leave of absence
          from his or her position during the first five years
          following the effective date of disability benefits.   Estimate your benefit online
                                                                 To calculate a disability allowance estimate, log in
      • If disability benefits are approved by the Retirement
                                                                 to your Online Personal Account at www.strsoh.org
        Board and accepted by the member, it is the
                                                                 and access a benefit estimate calculator that will use
        member’s option whether to use remaining sick
                                                                 your personal account information. You may also
          leave; however, the employer may have guidelines
                                                                 obtain a disability allowance estimate by entering
          the member must follow.
                                                                 your personal account details in the calculator
      •   Benefit payments begin on the first day of a month;    available at www.strsoh.org under Resources.
          they are not prorated for partial months. Benefit
          payments are direct deposited into the banking         Estimate your benefit using this brochure
          institution of the recipient’s choice.
                                                                 To estimate the amount of disability allowance
      • Disability benefit recipients are subject to annual      benefit, complete the following:
        medical examinations including requests for medical
                                                                 1. Enter total years of Ohio service credit
        evidence. These examinations may require travel to
        Columbus, Ohio. STRS Ohio pays the examiner’s            2. Multiply years on Line 1 by 2.2%, enter results
        fee, but not the member’s travel expenses.                  on Line 3                                             x .022

                                                                 3. This is your disability benefit formula percentage
      •   As a condition for receiving a disability benefit,
          a recipient may be required to agree in writing to          (minimum = 45% of FAS)
                                                                      (maximum = 60% of FAS)                                  %
          obtain medical treatment recommended by the
          Medical Review Board. If the recipient fails to        4. Enter your FAS                                    $
          obtain required treatment or to submit required
                                                                 5. MultlplytheFASonLlne4bythe
          medical reports, disability benefits will be              percentage on Line 3 to find your
          terminated.                                               annual disability benefit                         $

      • Disability benefit recipients who have received                                         + 12= monthly         $
                                                                 im


        a benefit for at least 14 months must annually
        complete a Disability Statement ofEmployment
                                                                 Contact STRS Ohio directly
        and Earnings. STRS Ohio will notify disability
        recipients when their statement is available for         If you would like STRS Ohio to calculate your
        completion in their Online Personal Account. (To         estimate, call the Member Services Center toll-free
        register for an Online Personal Account, go to           at 888-227-7877.
          www.strsoh.oig and click “Register” at the top of

OJ6                          www.strsoh.org                                                888-227-7877 "                          7
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DEFINED BENEFIT PLAN                                                                                   DEFINED BENEFIT PLAN


    Length of disability allowance benefits                      • Total number of years of service credit
                                                                   multiplied by 2.2%, or
    Disability benefits terminate:
                                                                 • Total number of years of service credit plus
    • If the recipient performs any teaching service in             years on disability allowance multiplied by 2.2%
      a public or private setting, school or nonschool              (not to exceed 45% of FAS).
      setting, on a volunteer basis or for compensation, in
                                                                 If disability benefits terminate for any other reason,
      or outside the state of Ohio (see Page 18);
                                                                 the service retirement calculation will be based on
    •   If the recipient’s disability benefit was on a           the total years of service credit multiplied by 2.2%.
        combined basis with OPERS and/or SERS and the            If you retire with less than 34 years of service
        recipient becomes employed in a position covered         credit and before age 65, benefits are reduced.
        by one of those systems;                                 The reduction is based on your total years of
                                                                 service credit and age at retirement. The service
    • At the request of the recipient;
                                                                 requirement for an unreduced retirement benefit
    •   If a medical reexamination shows the member is no        will increase to a minimum of 35 years of service
        longer disabled;                                         on Aug. 1,2023.

    •   1 f the recipient is not following an agreed-upon      2. Become inactive and apply for service retirement
        treatment plan or does not submit required medical        when eligible.
        reports;
                                                               3. Return to teaching.
    •   If the recipient has not submitted the Disability        • A member who was under contract when
        Statement ofEmployment and Earnings noted on                disability benefits were granted and who has
        Page 6; or                                                  not resigned is considered on a leave of absence
                                                                    from his or her position during the first five
    • At age 65 or after a specific benefit period.
                                                                    years following the effective date of disability
    Disability benefits terminate at age 65 if the benefit          benefits. If disability benefits are terminated by
    began before age 60. The following chart shows how              the Retirement Board within the five-year period,
    long benefits may continue for members who were age             the member is entitled to employment in the
    60 or older when disability benefits began.                     same or a similar position and at the same salary
                                                                    no later than the next Sept. 1, unless the member
              Age at Effective Date                                 was dismissed, resigned or does not hold a valid
                                         Benefit Period
                   of Disability                                    teaching license.
                   60 or 61                60 months             • A member who returns to public employment
                   62 or 63               48 months                 following termination of disability benefits and
                   64 or 65               36 months                 earns two years of Ohio service credit in STRS
                                                                    Ohio, OPERS or SERS receives credit toward
                   66, 67 or 68           24 months
                                                                    service retirement for the time on disability. The
                   69 or older             12 months                total credit granted will be the lesser ofthe time
                                                                    on disability, five years or credit to match the
    When disability benefits terminate, a member may:
                                                                    amount oftime the member returned to work.
    1 . Apply for service retirement if eligibility
                                                               4. Withdraw the account balance. SeePages 10-13
        requirements have been met.
                                                                 for information.
        If disability benefits terminate at age 65 or at the
        end ofthe specified benefit period, the percentage
        used in calculating a member’s service retirement
        benefit will be the greater of the following:



8                             www.strsoh.org                                            888-227-7877                      9
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  DEFINED BENEFIT PLAN                                                                                                           DEFINED BENEFIT PLAN


       Account withdrawal in lieu of benefits                  Monthly payments vs. account withdrawal

       Upon termination of public employment in Ohio,                                                                       Monthly          Account
       you may elect to withdraw your account It is                               Plan Feature.
                                                                                                                           Payments        Withdrawal
       important to understand that withdrawing your STRS
       Ohio account is not a type of service retirement.        Lifetime monthly benefit                                         Yes              No
       Withdrawal of your account will cancel your
                                                                Survivor benefits                                                Yes              No
       STRS Ohio membership, your accumulated
       service credit and your eligibility to qualify for       Access to health care coverage1                                  Yes              No
       STRS Ohio retirement benefits. You will also lose
       access to health care coverage if eligible.              Five-yearjob protection if able to
                                                                                                                                 Yes              No
                                                                return to work2
       Once disability benefits begin or if you have ever
       received disability benefits, a withdrawal of the        Cost-of-living adjustments (COLA)1                               Yes              No
       account by you or your survivors would consist only
                                                                Direct control overfunds                                         No              Yes
       of your contributions; no interest or 50% matching
       funds would be payable. Receiving disability             Possible rollover to a qualified plan                            No              Yes
       allowance benefits does not reduce the member’s
                                                                Possible tax penalties                                           No              Yes
       contributions.
                                                                Death benefits4                                                  Yes              No
       Account withdrawal restrictions
                                                                Possible investment costs                                        No              Yes
       You cannot withdraw your STRS Ohio account if
       you are:                                                 Individual investment risk                                       No              Yes

       •   Under any form of teaching contract in an STRS       Subject to reemployment guide
                                                                                                                                 Yes             No
           Ohio-covered position, including substitute          lines for Ohio public positions
           teaching;
                                                               Note: Any payments you receive from STRS Ohio
       •   Under any type of verbal or written agreement       may affect your eligibility for Social Security
           for future teaching with an STRS Ohio employer      benefits. For more information, contact Social
           under the retirement law;                           Security toll-free at 800-772-1213.

       •   On a leave of absence;
                                                               Spousal consent on account withdrawal
       •   Currently receiving a monthly service retirement
                                                               If you are married and meet the age and service
           or disability benefit from STRS Ohio; or
                                                               requirements for retirement, you can withdraw
       a   Currently contributing to a college or university   your account only if your spouse consents to the
           alternative retirement plan. Only a transfer of     withdrawal by signing the withdrawal application
           STRS Ohio funds to the alternative retirement       before a notaty public.
           plan is permitted.

                                                               'See Page 15 for mon information on acces to health am coverage.
                                                               'Only a member who was under contract when granted disability allowance and who has
                                                               not resigned shall be considered on leave of absence from his or her position during the
                                                               first five years following the effective date of disability benefits.

                                                               ’New STRS Ohio benefit recipients are eligible to receive a COLA beginning on the fifth
                                                               anniversary oftheir retirement date. The State Teachers Retirement Board will periodically
                                                               evaluate whether a cost-of-llving Increase is payable In accordance with the law In effect
                                                               at that time (Section 3307.67, Revised Code). If a COLA Is granted, you will receive it on the
                                                               anniversary of your retirement date.

                                                               'Defined Benefit Plan retirees have a $ 1/KX) automatic death benefit with the option to
                                                               purchase an additional $1/100 or $24100.


» 10                        www.strsoh.org                                                             888-227-7877          0                                  11
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DEFINED BENEFIT PLAN                                                                                                                    DEFINED BENEFIT PLAN


     Withdrawal amount                                                                             potential benefits if your account is withdrawn. For
                                                                                                   more information about survivor benefits, please see
     The withdrawal amount consists of your contribu
                                                                                                   the Survivor Benefits brochure.
     tions plus interest and, with 5.00 or more years of
     qualifying service credit,* 50% matching funds.
                                                                                                   important tax considerations
     •    With 5.00 or more years of qualifying
                                                                                                   If you choose to withdraw your STRS Ohio account,
          service credit,* interest at a current rate of
                                                                                                   there are important tax implications.
          3% compounded annually will be paid on your
          member contributions and an additional amount                                            If you choose to have your withdrawal paid directly
          equal to 50% of the sum of your member                                                   to you:
          contributions, plus interest, will also be paid.
                                                                                                   •   Your payment will be taxed in the year in which
          With at least 3.00 years but less than 5.00                                                  it is issued.
          years of qualifying service credit * interest at a
          current rate of 3% compounded annually will be                                           a STRS Ohio will withhold federal tax at a rate of
          paid on your member contributions.                                                         20%.

     • With less than 3.00 years of qualifying                                                     • If you receive the payment before age 59-1/2, you
          service credit,* interest at a current rate of                                             may have to pay a 10% tax penalty for an early
          2% compounded annually will be paid on your                                                withdrawal.
          member contributions.                                                                    You may roll over your withdrawal amount to an
     Interest rates are subject to change. To confirm                                              eligible retirement account that will accept your
     current interest rates, contact STRS Ohio toll-free                                           rollover and:
     at 888-227-7877.                                                                              •   Your payment will not be taxed in the current
                                                                                                       year and no taxes will be withheld.
     Interest for all years to be withdrawn begins to
     accrue in the fiscal year following deposit. For                                              • The rolled over funds will be taxed when
     example, interest on 2022-2023 contributions would                                              removed from the account to which they were
     begin July 2023 and be payable August 2023 or later.                                            deposited.
     No interest is payable if a member withdraws his or
                                                                                                   Beginning in the year you reach age 72 or terminate
     her account in July and contributed to STRS Ohio
                                                                                                   employment, whichever is later, a certain portion
     for only the year just ended. Interest stops accruing
                                                                                                   of your payment cannot be rolled over because it is
     the month before account withdrawal.
                                                                                                   a “required minimum payment” that must be paid
                                                                                                   to you. STRS Ohio can tell you if your payment
     Items to consider                                                                             includes amounts that cannot be rolled over.
     There are situations in which an account withdrawal                                           There are other tax implications if you withdraw
     in lieu of a disability benefit may be beneficial.                                            your STRS Ohio account. Review our Account
     For example, if the member has a terminal illness                                             Withdrawal brochure and consult a professional tax
     or shortened life expectancy and does not have                                                advisor for more information. STRS Ohio cannot
     any survivors who qualify for monthly benefits, a                                             provide tax advice.
     withdrawal may be a good choice.

     Keep in mind that you and your survivors give up                                              Account withdrawal procedures
     the opportunity to qualify for STRS Ohio-sponsored
                                                                                                    If you want to withdraw your STRS Ohio account,
     health care coverage, survivor benefits and other
                                                                                                    log in to your Online Personal Account at
                                                                                                    www.strsoh.org to complete the online application.
     ’When referring to withdrawals, Qualifying service credit* refers to Ohio teaching service,    You can also access a paper copy of the Application
     restored withdrawn credit, purchased service for Ohio public teaching from which no
                                                                                                   for Withdrawal Payment on the website.
     STRS Ohio contributions were withheld, and credit obtained for leaves of absence under
     SecHon 3307.77 of the Revised Gode.

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12                                     www.5trsoh.org                                                                    888-227-7877                     13
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DEFINED BENEFIT PLAN                                                                                                                DEFINED BENEFIT PLAN


     Purchasing service credit                                        amount as computed by STRS Ohio. The 1099-R
                                                                      form is also made available in your Online Personal
     Purchasing service credit before disability benefits
                                                                      Account.
     begin may increase the amount of the disability benefit.
     Purchasing service credit after disability benefits begin        For more details about taxation ofbenefits, contact
     does not increase the disability benefit. However,               the Internal Revenue Service, the Ohio Department
     purchasing service credit may be advantageous if the             ofTaxation or a qualified tax consultant. STRS Ohio

     additional credit raises the level of survivor benefits or       cannot provide tax advice.

     future service retirement benefits. Because purchasing
     service credit may or may not be beneficial, individual
     counseling from STRS Ohio is recommended.
                                                                      Health care coverage
                                                                     Access to health care coverage
     Records used to verify service credit are sometimes
     difficult to obtain; it is advisable to request certification   A disability benefit recipient may choose to
     forms from STRS Ohio to begin the certification                 participate in the STRS Ohio Health Care Program*

     process as soon as possible. Certifying credit does not          by paying a monthly premium for this coverage.
     obligate a member to purchase credit, but it does verify         Health care coverage (medical/prescription, dental
     the credit amount and current cost.                             and vision) may begin the first month following
                                                                     Retirement Board approval of disability benefits or
     For more information, refer to the Purchasing Service           the benefit effective date, whichever is later.
     Credit brochure.
                                                                     A disability benefit recipient’s eligible dependents
                                                                     may also enroll in an STRS Ohio health care plan for
                                                                     additional premiums. Eligibility, coverage levels and
     Taxation of disability benefits
                                                                     the cost of the STRS Ohio Health Care Program are
     Federal income tax                                              determined by the Retirement Board.
     Disability benefits are considered regular income and
                                                                     Monthly premiums are automatically deducted from
     are fully taxable. When you reach minimum retirement
                                                                     disability benefits arid are deducted after taxes. If
     age or apply for service retirement, a portion ofyour
                                                                     your monthly benefit payment is not large enough to
     benefit may be tax-free. More information will be
                                                                     cover the premiums, STRS Ohio will deduct as much
     provided at the time benefits begin.
                                                                     as possible from your monthly benefit. The remaining
                                                                     balance must be paid by direct debit, which you are
     State/Local income tax                                          required to establish with your financial institution.
     Disability benefits for Ohio residents may be tax-
                                                                     STRS Ohio offers a Health Care Assistance Program
     free if the disability is permanent and the recipient
                                                                     to help qualified benefit recipients who need financial
     is unable to work for pay in any job for which the
                                                                     assistance paying for their STRS Ohio health care
     recipient is qualified. Disability benefits may also be
                                                                     plan. Eligibility is based on total family income and
     excludable from municipal taxes and school district
                                                                     total liquid assets. Call toll-free 888-227-7877 for
     income taxes. Please consult a qualified tax advisor
                                                                     more information.
     regarding the taxability of STRS Ohio disability
     benefits.                                                       A disability recipient must have 1 5 or more years of
                                                                     service credit (or 20 years of service credit if granted
                                                                     disability benefits on or after Aug. 1 , 2023) to have
     Taxable income
                                                                     access to health care coverage if the recipient later
     Following the end of the calendar year, benefit
     recipients who have not opted out of receiving paper
                                                                     "The STRS Ohio Health Care Program is not guaranteed. STRS Ohio may change or
     copies will be mailed a 1099-R form for monthly                 discontinue all or part of the program for all or a doss of eligible benefit recipients and
     benefits showing annual gross benefits and taxable              covered dependents at any time. Currently, members must have at least 15 years ofsendee
                                                                     credit (or 20 years of service credit for retirement on or after Aug. 1,2023) to qualify for
                                                                     access to the STRS Ohio Health Care Program (medkal/piesaIptkm, dental and vision).

14                         www.strsoh.org                                                                   888-227-7877                                            15
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  DEFINED BENEFIT PLAN                                                                                  DEFINED BENEFIT PLAN


       applies for service retirement. Health care eligibility   Other important benefits
       is based on the service credit used to calculate the
       service retirement benefit.                               Survivor benefits
                                                                 Disability benefit recipients have survivor benefits.
       Medicare enrollment                                       Qualified survivors may be eligible to receive a
       STRS Ohio requires all medical plan participants to       monthly benefit or to withdraw the account balance.
       enroll in Medicare Parts A & B at age 65 or when          This withdrawal payment consists of the member's
       eligible. If Medicare Part A (hospital insurance)         contributions only; no additional amounts are
       is not premium-free, you do not need to enroll            payable. For more information regarding survivor
       in Part A. However, Medicare Part B (medical              benefits, please refer to the Survivor Benefits
       insurance) is required. If you decline Medicare           brochure.
       coverage, you will not be eligible for an STRS
       Ohio medical plan.                                        Cost-of-living adjustment (COLA)
       Most people age 65 or older qualify for premium-          New STRS Ohio benefit recipients are eligible to
       free Medicare Part A based on their own or their          receive a COLA beginning on the fifth anniversary
       current or former spouse's employment history.            of their retirement date. The State Teachers
       Even if you aren't yet age 65, you may be eligible        Retirement Board will periodically evaluate whether
       for Medicare coverage if you have a qualifying            a cost-of-living increase is payable in accordance
       disability, end-stage renal disease or amyotrophic        with the law in effect at that time (Section 3307.67,
       lateral sclerosis (ALS). Contact Medicare toll-free at    Revised Code). If a COLA is granted, you will
       800-633-4227 or www.medicare.gov for eligibility          receive it on the anniversary of your retirement date.
       determination.

       After you've enrolled in Medicare, you must               Death benefits
       submit your Medicare information through your             An automatic $1,000 death benefit is payable to a
       Online Personal Account. Your Medicare status             disability benefit recipient's designated beneficiary.
       determines your health care plan eligibility, the cost    This automatic benefit is considered a nontaxable
       of your health plan and the percentage you will be        life insurance payment; therefore, it is a tax-free
       responsible for paying when your medical claims           benefit to the beneficiaiy.
       are processed.
                                                                 A disability benefit recipient may purchase an
                                                                 additional $1,000 or $2,000 death benefit for a
       Dental and vision coverage
                                                                 monthly premium. This optional death benefit is
       STRS Ohio offers dental and vision plans to               subject to a six-month waiting period and is taxable
       disability benefit recipients who are eligible to         when it is paid. For further information about this
       enroll in the STRS Ohio Health Care Program               benefit, please see the Death Benefits brochure.
       (see Pages 1 5-1 6). A disability benefit recipient's
       eligible dependents may also enroll. Enrollment in
       an STRS Ohio medical plan is not a requirement
       to enroll in the dental plan or vision plan. Separate
       monthly premiums apply to the dental and vision
       plans. Information about dental and vision coverage
       can be found in the Receiving Benefits section of
       our website under Health Care.




° 16                        www.5trsoh.org                                             888-227-7877 “                     17
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DEFINED BENEFIT PLAN                                                                                 DEFINED BENEFIT PLAN


     Employment while receiving                                by any other retirement system may be permitted.
                                                               While this employment is not performing teaching
     disability benefits
                                                               service, it can raise the issue of whether the member
     Employment on any basis while receiving disability        remains incapacitated from teaching and result in
     benefits may raise the issue of whether a recipient       reexamination.
     remains incapacitated from teaching.
                                                               Disability benefit recipients who have received
     A disability benefit terminates if the disability         a benefit for at least 14 months must annually
     benefit recipient performs any teaching service.          complete a Disability Statement ofEmployment
     Performing teaching service includes any and all          and Earnings. STRS Ohio will notify disability
     teaching service, as well as any service that you         recipients when their statement is available for
     participate in that is similar to the position held       completion in their Online Personal Account.
     as a contributing member of STRS Ohio, whether            Disability recipients are required to report any
     full time or part time, in a public or private setting,   employment, earnings and volunteer service
     school or nonschool setting, on a volunteer basis         performed while receiving disability benefits. If
     or for compensation, in or outside the state of           this information is not submitted, disability benefits
     Ohio. STRS Ohio defines to “perform any teaching          and health care coverage, if applicable, will be
     service** as follows:                                     terminated.

     1. All employment, contracted services or volunteer       In addition, STRS Ohio may request disability

       work, that if performed in an Ohio public school        recipients to be reexamined annually to ensure they
       would be covered by STRS Ohio; and                      are still incapacitated from teaching.

                                                               Before becoming reemployed while receiving
     2. All teachers, tutors, substitute teachers,
        electronic classroom instructors, day care             disability benefits, members should submit a job
                                                               description to STRS Ohio for evaluation.
       teachers, community school instructors and
       private-lesson providers; and

     3. Work that relates to the work of educators, such
        as but not limited to, writing curriculum; leading
       workshops; providing training; instructing
       students of any age; or directing teachers, student
       teachers or students.

     The Retirement Board has the final determination.

     A member receiving a disability benefit from STRS
     Ohio on a combined basis with OPERS. SERS or
     both, is ineligible for employment covered by any
     system that participates in the combined disability
     retirement. In addition, any employment restrictions
     in those systems will also apply to you.

     Disability recipients receiving a disability benefit
     independent from OPERS, SERS or both, also may
     not work in any position covered by another Ohio
     public retirement system for the first two months of
     benefits. After this two-month waiting period, part-
     time or full-time employment in a position covered




18                       www.strsoh.org                                              '888-227-7877                      19
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SIRS Ohio Resources                                                                            DEFINED BENEFIT PLAN




     By phone: 888-227-7877 (toll-free)                   Publications available
     Our dedicated team of member service                 The following STRS Ohio publications are available
     representatives is available to answer your          on the STRS Ohio website at www.strsoh.org:
     questions when you need them.
                                                          • Account Withdrawal
     •   Call Monday-Friday, 8 a.m.-5 p.m.
                                                          • Annual Comprehensive Financial Report
     When you need more detailed information, our
                                                          • Death Benefits
     benefits counselors can provide you with one-on-
     one consultation in our Columbus office, through     • Disability Allowance
     a teleconference, videoconference or during field
     counseling sessions.                                 • Disability Retirement

                                                          • Employment After Retirement


     On the Internet: www.strsoh.org                      • Preparingfor Retirement

     A quick way to access information is through STRS    • Purchasing Service Credit
     Ohio’s website, where you will find the items        • Service Credit Guidelines
     below and much more.
                                                          • Service Retirement and Plans ofPayment
 . •     A presentation of the disability application
         process                                          • Survivor Benefits

     •   Benefit information (while teaching and          •   Understanding Your STRS Ohio Benefits —
         in retirement)                                       Plan Summary

     • Online Personal Account information

         Videos and on-demand webinars

     • Counseling and seminar information

     •   STRS Ohio publications and forms

     •   Benefit calculators



     By email:
     •   Go to www.strsoh.org and select “Contact” from
         the top menu.



     Email news service
     STRS Ohio updates members about legislation,
     benefits and other issues affecting the STRS Ohio
     membership through our email news service —
     eUPDATE. All members with an email on file
     receive the eUPDATE.

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                          275 East3road Street • Columbus, OH 43215-3771
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      Unum
      THE BENEFITS CENTER
      PO BOX 100158
      COLUMBIA. SC 29202-3158




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             AMY L REMER
             118 CRABAPPLE DR
             SWANTON OH 435S8-8411




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        Unum                                                                                                          •   ©   •
        The Benefits Center
        POBox 100158                                                                                                 unum
        Columbia, SC 29202-3158
        Phone: 1-800-8S8-6843
        Fax: 1-800-447*2498
        www.unum.com
                                                                                                                     April 22, 2022




         AMY L REMER
         118 CRABAPPLE DR
         SWANTON, OH 43658




         RE:      Remer, Amy L
                  Claim Number:          21103779
                  Policy Number:         953733
                  Unum Life Insurance Company of America




        We have completed our review of your Long Term Disability claim and are unable to approve
                                                                                                                                      o

        your benefits. Please review this entire letter as It will help you understand how we reached this                            8
                                                                                                                                      a
        decision.
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                       Long Term Disability                                                                                           s
                                                                                                    Contact Us                        s
                            Claim Number:
                               21103779                                                                Direct:
                                                                                             Brandon Cook
                                                                                                                                      I
                         Last Day Worked:                                           1-800-858-6843 extension, 54290
                         September 07, 2020
                                                                                                   Call Center:
                           Date of Disability                                                    1-800-858-6843
                          September 08, 2020                                               Sam - 8pm ET, Mon-Frl




        Information that Supports our Decision

        Your policy allows a certain period of time in which your claim and proof of loss must be
        received. We received your claim on April 08, 2022, which was not within the required time
        frame. The Information in your file indicates you Initially stopped working on September 08,
                                                                                                                                          i
        2020, due to your diagnosis of Left Arm Amputation. We received your completed claim on
        April 08, 2022. According to the Notice and Proof of Loss provisions In your policy (outlined
        below) your claim should have been received no later than September 08, 2021 . Because we
        did not receive your claim by this date, we are unable to complete a thorough review of your
        claim.

        During a telephone call with you on April 15, 2022, you advised that you did not file when you
        stopped working because nobody explained that you should have filed for Long Term Disability
        benefits at that time, and you were not made aware that you should apply until recently. You



        1242*03     UNUM 15 A REGISTERED TRADEMARK AND MARKETING BRAND W UNUM GROUP AND ITS INSURING SUBSIDIARIES.


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Claimant Name: Remer, Amy L                                                            April 22. 2022
Claim Number 21103779                                                                      Page 2 of 5



then filed your claim on April 08, 2022. We have taken this Information Into consideration,
however claiming a lack of knowledge about your coverage Is not enough on its own to justify
late notice of filing. You have not lacked legal capacity or have a legal reason preventing you
from applying for long term disability. Ohio is a strict filing state and does not require a showing
of prejudice on late filed claims, we are unable to continue our review, and as a result your
claim will close with no benefits payable due to late notice of filing.



Policy Provisions

We relied upon your policy when making our decision) including provisions listed below, and the
Company reserves its right to enforce other provisions of the policy.


WHEN DO YOU NOTIFY UNUM OF A CLAIM?




    days after the date your disability begins. In addition, you must send Unum proof of
    your claim no later than one year after the date your disability begins unless your
    failure to do so is due to your lack of legal capacity. In no event can proof ofyour
    claim be submitted after the expiration of the time imrt for commencing a legal
    proceeding as stated In the policy, even if your failure to provide proof rf claim is due
    to a lack of legal capacity or if state Jaw provides an exception to the one year time
    period.

    You must notify us immediately when you return to work In any capacity.
   WHAT INFORMATION IS NEEDED AS PROOF OF YOUR CLAIM?

      Proof ofyour claim, provided at your expense, must show:

      - the date your disability began;
      - the existence and cause of your sickness or injury;
      - that your sickness or injury causes you to have limitations on your functioning and
        restnetions on your activities preventing you from performing me material and
        substantial duties ofyour regular occupation or of any othergainftil occi^atbn for
        which you are reasonably fitted by education, training, or experience;
      - that you are underthe regular care of a physician;
      - the name and address of any hospital or institution where you received
        treatment, including all attending physicians; and
      - the appropriate documentation of your monthly earnings, any disabtiity earnings,
        and any deductble sources of income.

      In some cases, you will be required to give Unum authorization to obtain additional
      medical information and to provide non-medical information as pa rt of your proof of
      claim, or proof of continuing disability. We may also require that you send us
      appropriate financial records, which may include Income tax returns, which we
      believe are necessary to substantiate your income. We may request that you send
      periodic proof ofyour claim. This proof, provided at your expense, must be received
      within 45 days of a request by us. Unum will deny your daim, or stop sending you
      payments, if the appropriate information is not submitted.




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        Claimant Name; Remer, Amy L
                                                                                                 April 22, 2022
        Claim Number. 21103779                                                                       page 3 of 5




         require an examination as often as It is reasonable to do so. We may also require
         you to meet with and be interviewed by an authorized Unum Representative. Unum
         will deny you* claim, or stop sending you payments, if you fail to comply with our
         requests.
         HOW DOES UNUM DEFINE DISABILITY?

             You are disabled when Unum determines that

             - you are limited from performing the material and substantial d uties of your
               regular occupation due to your sickness orinjury; and           f
             - you have a 20% or more loss in your indexed monthly earnings due to the same
                sickness orir^ury.

             After 24 months of payments, you are disabled when Unum determines that due to
             the same sickness or tnjury, you are unable to perform the duties of any gainful
             occupation for which you are reasonably fitted by education, training or experience.


             dsabted* b&              the re^ular care °^a Physician in order to be considered
             The loss of a professional or occupational license or certification does not, in itself,
             constitute disability.
        MATERIAL AND SUBSTANTIAL DUTIES means duties that:
                                                                                                                   I
        - are normally required for the performance of your regular occupation; and                                I
        - cannot be reasonably omitted or modified.
                                                                                                                   §
         REGULAR OCCUPATION means the occupation you are routinely performing when
         your disability begins. Unum wil look at your occupation as it is normally performed
         the national economy, instead of how the work tasks are performed for a specific
                                                                                              in
                                                                                                                   I
         employer or at a specific location.
           WHEN DOES YOUR COVERAGE END?

               Non-Massachusetts Residents
               Your coverage underthe policy ora plan ends on the earliest of:

               - the date the policy ora plan is cancelled;
               - the date you no longer are in an eligible group;
               - the date your eligible group is no longer covered;
               - the last day of the period for which you made any required contributions; or
               - the last day you are in active employment except as provided underthe covered
                 layoff or leave of absence provision.

               Unum will provide coverage for a payable claim which occurs while you are covered
               under the policy or plan.



        Next Steps Available to You

        If you disagree with our decision, you may request an appeal.




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 Claimant Name: Remer, Amy L                                                         April 22, 2022
 Claim Number: 21 103779
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What is an Appeal?

An appeal is your written disagreement with our claim decision and a request for a review of that
decision.

How do you request an Appeal?

You will need to submit a written letter of appeal outlining the basis for your disagreement. To
ensure handling of your appeal without delay, please include any additional information you
would like considered. This information may include written comments, documents, or other
information in support of your appeal.

How much time do you have to request an Appeal?

You have 180 days from the date you receive this letter.

If we do not receive your written appeal within 180 days of this letter, our claim determination
will be final.


Where do you mail or fax your written request for an Appeal?

    The Benefits Center
    Appeals Unit
    PO Box 9548
    Portland, ME 04104-5058
    Fax Number 1-207-575-2354

Our Appeals Unit will send you a letter acknowledging receipt of your appeal including your
Appeals Specialist's contact information.

How does the Appeal process work?

An Appeals Specialist will review your entire claim, including any new information you
submitted.

How much time does the Appeal review take?

We want you to know that our Appeals Unit is committed to completing their review as soon as
possible and will provide you with status updates every thirty days until a decision is reached.

We hope this letter has been clear and helpful to you. If you have questions about your claim or
this process, please call our Contact Center at 1-800-858-6843, 8 a.m. to 8 p.m. Eastern Time,
Monday through Friday. Any of our experienced representatives have access to your claim
documentation and will be able to assist you. We will Identify your claim by your Social Security
number or claim number, so please have one of these numbers available when you call. If you
prefer to speak with me personally, I can be reached at the same toll-free number at extension,
54290.




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    Claimant Name: Remer, Amy L
                                                                                       April 22. 2022
    Claim Number: 21103779
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    Spanish: To obtain assistance in        Para obtener asistencia en Espanol, Name al 1-800-
    Spanish, call 1 -800-858-6843.          858-6843.
    Chinese: To obtain assistance in
                                             ($*)    =                                            : 1-
    Chinese, call 1-800-858-6843.
                                            800-858-6843.
    Tagalog: To obtain assistance in        Kung kailangan ninyo ng tulong sa Tagalog, tumawag
    Tagalog, call 1-800-858-6843.           sa 1-800-858-6843.
    Navajo: To obtain assistance in Dine,   Dinek'ehgo shika at'ohwol ninisingo, kwlijigo holne*
    call 1-800-858-6843.                    1-800-85B-6843.


    Sincerely,




    Brandon Cook
    Benefits Specialist




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                                    Appeal Representation Authorization Form

PatientName: Amy Remer                Date ofBirthzQ'i                  |
Telephone:                   / Q-^l
Address:                                                         a



        I hereby authorize Allotta [ Farley Co., L.P.A or its representatives to represent me and act on my behalf in
any claim or appeal with my health plan, insurance carrier, pharmacy benefit manager, or long term disability carrier
related to any denial ofcoverage that I have received. I therefore authorize any health plan, insurance carrier, pharmacy
benefit manager, or long term disability carrier to release any of my protected health information ("PHI”), including
information related to substance use disorders, to my representative named above for the purpose of resolving my
claim or appeal. I have read and I understand the following statements about my rights:


           •   I understand that the information in my health record may include information relating to sexually
               transmitted diseases, tuberculosis (TB), hepatitis B, acquired immunodeficiency syndrome (AIDS), or
               human immunodeficiency virus (HIV).
           •   I may revoke this authorization at any time prior to its expiration date by providing writtennotification
               to the insurance plan or carrier that is considering my claim or appeal, but that such revocation will not
               have any effect on any action(s) taken prior to the receipt of said revocation.
           •   I may see and copy the information described on this form along with any communications between
               an insurance plan or carrier that is considering my claim or appeal and my legal representative noted
               herein.
           •   I am not required to sign this form to receive my health care benefits (e.g., enrollment, treatment, or
               payment).
           •   The information that is used or disclosed pursuant to this authorization may be re-disclosed by the
               receiving entity.
           •   Unless previously revoked in writing, this authorization will expire one (1) year from the date I have
               executed it

        Please direct any and all future communications concerning my claim for benefits or appeal to the following
        individual:

                                      Jeremy T. Rodriguez
                                      Allotta | Farley Co., L.P.A.
                                      Preston Building
                                      3240 Levis Commons Blvd.
                                      Perrysburg, OH 43551
                                      Fax:(419)535-1935



Patient Signature:^^^*/^                                                            Date:
Printed name of client’s representative:     Allotta I Farlev Co.. L.P.A, - Jeremy T. Rodriguez



Representative Signature:                  <*



Date:
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              ALLOTTA
              FARLEY!
                                                                     Preston Building • 3240 Levis Commons Boulevard
                                                                                 Perrysburg, Ohio 4355 1
                                                                           (419) 535-0075 • Fax (419) 535-1935
                                                                                  www.allottafnrley.com


                                                            May 27, 2022
    Submitted via Fax
    Unum Benefits Center
    Appeals Unit
    P.O. Box 9548
    Portland, Me 04104-5058
    FaxNo.1-207-575-2354

                    Re:    Appeal on Behalf of Amy L. Remer
                           Claim No.:  21103779
                           Policy No.: 953733

    Dear Unum Life Insurance Company:

             Please be advised that this law office, as noted in the authorization attached hereto, has
    been hired to represent Amy L. Remer with respect to her appeal for benefits under the Unum
    Long Term Disability Policy noted above (hereinafter, the “Policy”). Her initial claim, which is
    also referenced above, was rejected because the Unum Life Insurance Company (“Unum”) claimed
    that it was submitted beyond the internal limitations period set forth in the Policy.


           As described in greater detail below we are appealing this determination on two separate
I   grounds. First, any deadlines under an employer sponsored disability plan such as the Policy have
    been tolled under guidance issued by the Departments of Health and Humans Services, Treasury,
I
    and Labor (the, “Joint Agencies”). Second, even if the original deadline of September 2021 is
    accurate, any delay in filing the claim is both minimal and reasonable given the underlying
    circumstances and is not prejudicial to Unum or in any way prevents Unum from undertaking a
    full and fair review.

    Extended Deadlines Under EBSA Disaster ReliefNotices

            The Policy referenced above is held by the University of Toledo and was established (and
    is maintained) by the University for the propose ofproviding long term disability benefits to certain
    classes of employees. Mrs. Remer is eligible in the Plan through her employment with the
    University of Toledo and qualifies as a “participant” in the Plan. (See 29 U.S.C. §1002(7)). Mrs.
    Remer filed a claim for benefits under the Policy on April 8, 2022. On April 22, 2022, she received
    a notice from Unum that her claim was denied because her claim was filed beyond die internal 1-
    year deadline set forth in the policy. In the denial letter, Unum asserts that Mrs. Remer became
    disabled on September 8, 2020 and therefore should have filed her claim for disability benefits by
    September 8, 2021 .

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                                                Exhibit D
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        In response to the COVID-19 pandemic, on May 4, 2020 the Joint Agencies issued EBSA
Disaster ReliefNotice 2020-0 1 . According to that Notice, certain deadlines for health, retirement,
and disability plans that occurred after March 1, 2020 were tolled for one year. “With regard to
disability, retirement, and other plans, the joint notice provides additional time for participants and
beneficiaries to make claims for benefits and appeal denied claims.” Therefore, Mrs. Remer’s
claim for benefits falls within the extended filing period granted under Notice 2020-01.

        On February 26, 2021, the Joint Agencies issued EBSA Disaster Relief Notice 2021-01
which further clarified the reliefprovisions described above. Specifically, Notice 2021-01 provides
the following:

               “Individuals and plans with timeframes that are subject to the relief
               under the Notices will have the applicable periods under the Notices
               disregarded until the earlier of (a) 1 year from the date they were
               first eligible for relief; or (b) 60-days after the announced end of the
               National Emergency (the end of the Outbreak Period).”


        In other words, any deadlines that were set to expire during the COVID National
Emergency were effectively “tolled” until the earlier of (a) byear from the original deadline, or
(b) 60-days after the National Emergency is lifted. On February 18, 2022, President Biden issued
a Proclamation extending the National Emergency. This extension will carry for one-year unless
the President declares an earlier end date. As of the date of this appeal letter, no such ending date
has been declared. This same guidance was adopted by the Center for Medicare and Medicaid
Services (“CMS”) on May 14, 2020 and remains in effect.


       Since the National Emergency is still effective, this means Mrs. Remer’s deadline has been
tolled until one-year from the original cutoff date. In other words, using Unum’s onset date of
September 8, 2020 and the Disaster ReliefNotices cited above, Mrs. Remer is required to file her
claim by September 8. 2022. In the denial letter, Unum notes that it received her claim on April
8, 2022. This is well before the extended filing deadline. Therefore, her claim should not be
rejected under these grounds and should be processed as required under the Policy and applicable
law.


Lack ofPrejudicefrom Delaved Notice & Equitable Tolling


       At this point, is unclear how Unum determined Mrs. Remer’s disability onset date of
September 8, 2020 and what considerations were evaluated. Thus, Mrs. Remer reserves the right
to challenge that determination in the future. Nevertheless, even assuming that the onset date is
accurate and that the claim does not qualify for the relief noted above, Mrs. Remer’s claim was
filed within the time limit for commencing legal action as stated in the Policy and should be
considered timely. Moreover, even if the claim is outside of the filing period, Unum has not been
prejudiced by the delay and should therefore process the claim as required under both the Policy
and applicable law.



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        The Policy provides that notice of a claim should file as soon as possible, but within 30-
days after the date a disability begins. However, it also states that notice must provided within one-
year after the disability commences and in no event can be made after the time limit for
commencing legal action (i.e., 3 years from the date the claim was denied). A participant must also
notify Unum immediately if he or she returns to work. As noted above, Unum received Mrs.
Remer’s initial claim on April 8, 2022. Further, and as discussed below, both Mrs. Remer and her
employer reasonably expected her to return to work and she continued to receive her regular
compensation following both the surgery and prosthetic fitting.

        In Ogborne v. UNUM Life Ins. Co. ofAmerica, 2006 WL 250905, the Northern District
Court for the Western Division of the Federal 6th Circuit noted that “Ohio law requires a two-step
approach to ‘late notice’ cases. First a court must determine whether notice was provided ‘within
a reasonable time in light of all the surrounding facts and circumstances,”’ Id., at 1, quoting
Ferrando v. AutoOwners Mutual Ins. Co., 98 Ohio St. 3d 186, 208 (2002); also citing Clark v.
Chubb Group ofIns. Co., 337 F.3d 687, 692 (6th Cir. 2003). If the insured failed to provide notice
within a reasonable period, “there is a presumption of prejudice to lhe insurer which the plaintiff
has the burden of rebutting.” Ogborne, 2006 WL 250905, 1.

        In Ogborne, the participant injured his hand in a car accident on June 18, 2001. He was
unable to determine the permanent and debilitating nature of the injury until two years later. He
then filed a claim for benefits which the insurance company later denied as untimely. His claim
was filed three (3) months after he determined that the injury was permanent and that he would be
unable to resume his regular occupation. The Ogborne Court held that the late notice was
reasonable given that it was provided within a reasonable time after the participant discovered that
the hand injury was a permanent disability.


                “To hold otherwise would be to penalize insureds who anticipate,
               seek, and desire in good faith to resume their occupations. It is
               appropriate to permit an insured to wait until all hope ofdoing so
               first appears lost, instead ofdemanding that he or she provide notice
                as doubts begin to arise and uncertainty increases. The interests of
                neither the insured nor the company would be served by a legal
               standard that would encourage potentially premature claims. This
                is particularly so in cases in which no reasonable likelihood of
               prejudice is apparent. ” Id., at 5, FN 1.

       In the instant claim, Mrs. Remer underwent surgery to amputate her left arm on September
8, 2020. After her surgery, Mrs. Remer remained in regular contact with her employer. Both she
and her employer were under the good faith belief that she would eventually return to work once
she was fitted for a prosthetic arm and adjusted to life with the new artificial limb. In other words,
both parties expected that Mrs. Remer would need time to recover from the surgery and adjust to
the prosthetic arm before determining whether she could resume her regular occupation.




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         Mrs. Remer was not fitted with the prosthetic limb until the summer of 202 1 . It was only
after this adjustment period that Mrs. Remer determined that she was unable to resume her regular
occupation. She informed her employer of this development in January of 2022. During this time,
Mrs. Remer continued to receive her regular salary. Therefore, it is unreasonable for Unum to
assert that Mrs. Remer should have known she was totally disabled immediately following her
surgery (i.e., September 8, 2020). In fact, both she and her employer were under the impression
that she would return to work once she adjusted to the artificial limb. Thus, her claim was both
timely and reasonable given the underlying circumstances.


        Further, in Longazel v. Fort Dearborn Life Insurance Co., 363 Fed. Appx. 365 (6th Cir.
201 0), the Court held that a deadline under an insurance policy can be equitably tolled ifthe insured
can establish a lack ofnotice, diligence in pursuing one’s rights, absence ofprejudice to the insurer,
and reasonableness in being unaware of the rules.

         Using Unum’s onset date, Mrs. Remer Hied her claim a mere seven (7) months after the
purported September 8, 2021 deadline. At this point, it is unclear how, or even when, either Unum
or her employer provided Mrs. Remer with a copy of the Policy thereby notifying her of the one-
year filing deadline. Further, and as described above, Mrs. Remer was not fitted with a prosthetic
arm until the summer of 2021. At that time, both she and her employer reasonably expected her to
return to work. In fact, the parties remained in contact and Mrs. Remer continued to receive her
regular compensation. Mrs. Remer notified Unum within four (4) months after determining that
she was unable to return to work. Again, this was a mere seven (7) months after the purported
September 8, 2021 cutoff date. Thus, not only was Mrs. Remer diligent in pursuing her rights, but
her delay is entirely reasonable given the facts and circumstances and in no way jeopardizes
Unum’s ability to conduct a full and fair review.


Conclusion

        In conclusion, it is evident that Unum’s original determination to deny the claim based on
its application of the Policy’s internal one-year filing -deadline is incorrect and contrary to
underlying law. As noted above, her claim for benefits falls within the relief granted in in EBSA
Disaster Relief Notices 2020-01 and 2021-01 and was filed well before the extended filing
deadline.


        Further, even if Mrs. Renier does not qualify for the relief set forth in the Disaster Relief
Notices, her delay in filing her claim was both reasonable under the circumstances and in no way
prejudicial to Unum. Unum’s original determination that the deadline was September 8, 2021
ignores several pertinent facts, including the expectations of both Mrs. Remer and her employer;
the fact that she wasn’t fitted with a prosthetic limb until the summer of202 1 ; and that Mrs. Remer,
a mother of four small children, would need time following both her surgery and prosthetic fitting
to adjust both physically and mentally to the personal and professional challenges life with an
artificial limb presents. And this all occurred while her regularjob duties were changed in response
to the COVID-19 National Emergency. Thus, any purported delay in filing the claim was minimal,



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reasonable, did not prejudice Unum, and would likely qualify for relief under the doctrines of
notice-prejudice or equitable tolling as described above.

       Finally, at this point is unclear how Unum determined Mrs. Remer’s disability onset date
and what factors were considered. However, it does not appear that any of the extenuating
circumstances mentioned above were take into account Thus, and as set forth above, we believe
that Mrs. Remer’s claim for benefits falls within the deadlines set forth in the Policy. Accordingly,
we respectfully request that Unum find the claim to be timely and begin processing the claim as
required under the Policy and applicable law.

      If you have any questions regarding this appeal, please contact the undersigned counsel.
Thank you very much.

                                                      Sincerely,


                                                      Allotta | Farley Co. L.P.A.




Enclosure(s)




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                                      Anneal Representation Authorization Form

 Patient Name: Amv Remer                Date of                   I           .

 Telephone*. L4~ I           |0         1*5^
 Address: II#                             (-€


         I hereby authorize Allotta | Farley Co., L.P.A or its rapresentativas to represent me and act on my behalf in
 any claim or appeal with my health plan, insurance carrier, pharmacy benefit manager, or long term disability earner
 related to any denial ofcoverage that I have received. I therefore authorize any health plan, insurance carrier, pharmacy
 benefit manager, or long term disability carrier to release any of my protected health information (“PHI”), including
 information related to substance use disorders, to my representative named above for the purpose of resolving my
 claim or appeal. I have read and I understand the following statements about my rights:


            •   I understand that the information in my health record may include information relating to sexually
                transmitted diseases, tuberculosis (TB), hepatitis B, acquired immunodeficiency syndrome (AIDS), or
                human immunodeficiency virus (HIV).
            •   I may revoke this authorization at any time prior to its expiration date by providing written notification
                to the insurance plan or carrier that is considering my claim or appeal, but that such revocation will not
                have any effect on any action(s) taken prior to the receipt of said revocation.
            •   I may see and copy the information described on this form along with any communications between
                an insurance plan or carrier that is considering my claim or appeal and my legal representative noted
                herein.
            •   lam not required to sign this form to receive my health care benefits (e.g., enrollment, treatment, or
                payment).
            •   The information that is used or disclosed pursuant to this authorization may be re-disclosed by the
                receiving entity.
           '•   Unless previously revoked in writing, this authorization will expire one (1) year from the date I have
                executed it.

        Please direct any and all future communications concerning my claim for benefits or appeal to the following
        individual:

                                        Jeremy T. Rodriguez
                                        Allotta | Farley Co., LJP.A.
                                        Preston Building
                                        3240 Levis Commons Blvd.
                                       Perrysburg, OH 43551
                                       Fax: (419) 535-1935



Patient Signature:                                                                   Dai

Printed name of dientis representative:         Allotta I Farley Co.. L.P.A.— Jeremy T. Rodriguez .



Representative Signature:           S«qgj,   <*



Date:   5- 11-2. Z,
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    Unum
    Appeals Unit
    PO Box 9648                                                                                            unum
    Portland, ME 04104-5058
    Phone: imoo-8M-6843
    Fax: 207-575-2354
    www.unum.com
                                                                                                           June 10. 2022




    JERRY RODRIGUEZ
    ALLOTTA FARLEY, CO. LPA
    PRESTON BLDG 3240 LEVIS COMMOM BLVD
    PERRYSBURG, OH 43551




    RE:       Remer, Amy L
              Claim Number:          21103779
              Policy Number          953733
              Unum Life Insurance Company of America




    Unum Life Insurance Company of America completed the appeal review on your client, Amy
    Remer's Long Term Disability (LTD) claim.                                                                              e



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    Please read the following pages carefully, as they will help you understand how we reached our
                                                                                                                           E
    decision.
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    This letter includes the following:                                                                                    e




    •     Initial Claim Decision
                                                                                                                           i
    •     The Appeal Decision

    •     Information that Supports the Appeal Decision

    •    Our Response to your Concern(s)

    •     Policy Provisions that apply to the Appeal Decision

    •    Next Steps Available

    Initial Claim Decision:

    The Benefits Center determined Ms. Remer filed a claim for LTD benefits after the policy
    deadline. Therefore, her claim was closed with no benefits payable.

    Appeal Decision:

    We determined the decision on the claim Is correct.




.   1342*03    UNUM IS A REGISTERED TRADEMARK AND MARKETING BRAN^tHbl^Sup AND ITS INSURING SUBSIDIARIES.
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    Claimant Name: Remer, Amy L                                                            June 10, 2022
    Claim Number: 21103779                                                                         Page 2 of 5



    Information that Supports our Decision:

    Ms. Remer submitted a claim for Long Term Disability benefits stating she was unable to work
    as of September 08, 2020 due to Left Arm Amputation. She submitted her completed claim
    form on April 08, 2022.

    During a telephone call with the Disability Benefits Specialist on April 15, 2022, Ms. Remer
    advised she did not file when she stopped working because no one explained that she should
    have filed for Long Term Disability benefits at that time, and she was not made aware she
    should apply until recently. She then submitted a claim on April 08, 2022.

    Ms. Remer’s having a lack of knowledge about her coverage, does not Justify the untimely filing
    of her LTD claim. The available Information does not indicate Ms. Remer claimed a lack of legal
    capacity and Instead advised that no one explained that she should file for LTD benefits.


    Ms. Remer was notified by The Benefits Center In a letter dated April 22, 2022 that benefits
    could not be approved for her LTD claim because written proof of claim was not submitted
    within the required period for submitting proof of claim according to the policy provisions.

    In reviewing the policy, the notice and proof of claim requirements state: notice of claim must be
    submitted within 30 days from the date your disability begins. "In addition, you must send Unum
    proof of your claim no later than one year after the date your disability begins unless your failure
    to do so is due to your lack of legal capacity..." According to the notice and proof of loss
    provisions in the policy Ms. Remer should have submitted her completed claim by September
    08, 2021.

    Based on our review, Ms. Remer's written proof of claim was submitted after the policy
    deadline. She filed her claim on April 08, 2022 and this date was not within one year of her
    disability that occurred on September 08, 2020.

    Since the policy requirements for providing proof of claim were not met, the decision to deny
    benefits on Ms. Remer's claim Is appropriate.


    Our Response to Your Concerns:

    You submitted a letter of appeal dated Mary 27, 2022. In summary, your letter noted you are
    appealing the denial decision on two separate grounds.

    "First, any deadlines under an employer sponsored disability plan such as the Policy have been
    tolled under guidance Issues by the Department of Health and Human Services, Treasury and
    Labor (the, "Joint Agencies")."

    Unum Is aware of the ERISA extended deadline set forth to submit a claim. This Is not
    applicable to Ms. Remer's claim as her employer's LTD policy Is not governed by ERISA.

    There are no specific disability disaster bulletin deadlines for the state of Ohio.

    "Second, even If the deadline of September 08, 2021 is accurate, any delay In filing the claim Is
    both minimal and reasonable given the underlying circumstances and Is not prejudicial to Unum
    or In any way prevents Unum from undertaking a full and fair review."




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        Claimant Name: Remer, Amy L                                                                June 10, 2022
        Claim Number: 21103779                                                                         Page 3 of 6


        Ohio Is a strict filing state and Unum Is not required to complete a prejudice review.

        Policy Provisions that Apply to the Appeal Decision:

       We relied upon your client's policy when making our decision, Including the provisions listed
       below, and the Company reserves its right to enforce other provisions of the policy.


            WHEN DO YOU NOTIFY UNUM OF A CLAIM?

                  We^encourage^you to noti!^ us of your clain^as^soon as possible so               data

                  days after the date yourdrsabihly begins. In addition, you must send Unum proof of
                  your claim no later than one year after the date your disability begins unless your
                  tenure to do so is due to your lack of legal capacity. In no event can proofof your
                  claim be submitted after the expiration of the timelimit for commencing a legal
                  proceeding as stated in the policy, even ifyour failure to provide proof of claim is due
                  to a lack of legal capacity or if state law provides an exception to the one year time
                  period.

                  You must notify us immediately when you return to work in any capacity.


            WHAT INFORMATION IS NEEDED AS PROOF OF YOUR CLAIM?

                  Proof of your claim, provided at your expense, must show:
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                  - the date your disability began;                                                                  §
                  - the existence and cause of your sickness or injury;                                                  g
                  - that your sickness or injury causes you to have limitations on your functioning and
                    restrictions on your activities preventing you from performing the material and                      i
                    substantial duties of your regular occupation or of any other gainful occupation for
                    which you are reasonably fitted by education, training, or experience;
                  * that you are under the regular care of a physician;
                  - the name and address of any hospital or institution where you received
                    treatment, including all attending physicians; and
                  - the appropriate documentation of your monthly earnings, any disabOity earnings,
                    and any deductible sources of Income.

                  In some cases, you will be required to give Unum authorization to obtain additional
                  medical information and to provide non-medical Information as part of your proof of
                  claim, or proof of continuing disability. Wb may also require that you send us
                  appropriate financial records, which may Include income tax returns, which we
                  believe are necessary to substantiate your income. Wb may request that you send
                 periodic proof of your claim. This proof, provided at your expense, must be received
                 within 45 days of a request by us. Unum will deny your claim, or stop sending you
                  payments, if the appropriate information is not submitted.




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        Claimant Name: Remer, Amy L                                                            June 1.0, 2022
        Claim Number 21103779
                                                                                                    Page 4 of 5


        HOW DOES UNUM DEFINE DISABILITY?

               You are disabled when Unum determines that

               - you are limited^from^erforming the material and substantial duties of your


               - you have a 2(f% or more lossHinyour indexed monthly earnings due to the same
                 sickness or Injury.

               After 24 months of payments, you are disabled when Unum determines that due to
               the same sickness or injury, you are unable to perform the duties of any gainful
               occupation for which you are reasonably fitted by education, training or experience.

               You must be under the regular care Of a physician In order to be considered
               disabled.

               The loss of a professional or occupational license or certification does not, In itself,
               constitute disability.

          MATERIAL. AND SUBSTANTIAL DUTIES means duties that

          - are normally required for thej>erformance of your regular occupation; and




        the national economy, instead of how the work tasks are performed for a specific
        employer or at a specific location.



        WHEN DOES YOUR COVERAGE END?

            Non-Massachusetts Residents
           Your coverage under the policy or a plan ends onthe earliest of:

           - the date the policy or a plan Is cancelled;
           - the date you no longer are in an eligible group;
           - the date your eligible group Is no longer covered;
           - the last day of the period for which you made any required contributions; or
           - (he last day you are in active employment exceplas provided underthe covered
             layoff or leave of absence provision.

           Unum will provide coverage for a payable claim which occurs while you are covered
           under the policy or plan.

        Next Steps Available:


        If you have questions about your client's claim or this process, please call our Contact Center at
        1 '800-858-6843, 8 a.m. to 8 p.m. Eastern Time, Monday through Friday. Any of our
        experienced representatives have access to your claim documentation and will be able to assist
        you.




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Claimant Name: Remer, Amy L
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                                                                                   June 10, 2022
Claim Number: 21103779                                                                  PageBofS


If you prefer to speak with me personally, I can be reached at the same toll-free number at
extension, 48086.

Spanish: To obtain assistance In          Para obtener aslstencla en Espafiol, llame al 1-800-
Spanish, call 1-800-858-6843.             858-6843.
Chinese: To obtain assistance In
                                           (**)     :                                         : 1-
Chinese, call 1-800-858-6843.
                                          800-858-6843.
Tagalog: To obtain assistance in          Kung kallangan nlnyo ng tulong sa Tagalog, tumawag
Tagalog, call 1-800-858-6843.             sa 1-800-858-6843.
Navajo: To obtain assistance In Dine,     Dlnek'ehgo shlka at'ohwol ninlslngo, kwlljlgo holne'
call 1-800-858-6843.                      1-800-858-6843.


Sincerely,




Teresa B Ward
Lead Appeals Specialist


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          ALLOTTA
          FARLEYs
                                                                   Preston Building • 3240 Levis Commons Boulevard
                                                                                 Perrysburg. Ohio 43551
                                                                         (419) 535-0075 ’ Fax (419) 535-1935




                                                         August 10, 2022

Sent via Fax
Unum Appeals Unit
c/o Teresa B. Wal'd, Lead Appeals Specialist
P.O. Box 9548
Portland, ME 04104-5058
Fax: (207) 575-2354

                Re:     Request for Reconsideration of Denial of Appeal
                        Remer, Amy L.
                        Claim No.:  21103779
                        Policy No.: 953733

Dear Ms. Ward:


       We received the response from .the Unum Life Insurance Company of America
(hereinafter, “Unum”) regarding the appeal filed on behalf of Amy L. Remer regarding her long
term disability benefit claim under the Policy referenced in the caption above. That response, dated
June 10, 2022 (hereinafter referred to as the “June Denial Letter”), upholds the original decision
to deny Mrs. Remer’s claim for benefits on the grounds that it was filed beyond the internal
deadline set forth in the policy. Please consider this letter a Request for Reconsideration of the
decision on appeal to uphold the original determination by Unum.


        As explained in greater detail below, we believe Unum’s determination to uphold the denial
of Mr. Remer’ s claim on the basis that it was untimely is contrary to the underlying terms of the
Policy and potentially constitutes bad faith under existing Ohio law. Therefore, we respectfully
request that Unum reconsider its determination in light of the information set forth below.


UNUM Policy Terms and Conditions


       According to the policy, a claimant ‘'must send Unum proof of your claim not later than
one year after the date your disability begins unless your failure is due to your lack of legal capacity
(emphasis added).” Additionally, under the Policy an individual is considered disabled when:


            •   You are limited from performing the material and substantial duties of your regular
                occupation due to your sickness or injuiy; AND


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                                             Exhibit F
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            •   You have a 20% or more loss in your indexed monthly earnings due to the same
                sickness or injury. (See Policy Section entitled, "How does Unum Define
                Disability?").

      Finally, the Policy defines “monthly earnings” as “gross monthly income from your
Employer, including shift differential, in effect just prior to your date of disability.” Moreover,
“monthly earnings” do not include “income received from commissions, bonuses, overtime pay,
or any other extra compensation or income receive from sources other than your employer.” See
Policy Section entitled, "What are your Monthly Earnings. "

Grounds for Reconsideration

       In the June Denial Letter, Unum states that Mrs. Remer was “unable to work as of
September 08, 2020 due to Left Arm Amputation.” Unum then asserts that, “according to the proof
of loss provisions in the policy Mrs. Remer should have submitted her completed claim by
September 08, 2021.” Unum then concludes its determination by noting that Mrs. Remer “filed
her claim on April 08, 2022 and this date was not within one year of her disability that occurred
on September 08, 2020.”

        The decision set forth in the June Denial Letter is based on a disability onset date of
September 8, 2020. This was the day after Mrs. Remer’s surgery to amputate her left arm.
However, under the terms of the Policy this cannot be the measurement date.


        As indicated above, the Policy's definition of “disability” contains two (2) conditions. First,
the claimant must be unable to perform the material and substantial duties ofhis or her occupation
due to sickness or injury. Second, the claimant must experience a 20% or more decrease in their
monthly indexed earnings because of said sickness or injury. In other words, the terms of Unum’s
Policy require both conditions be met before an individual is considered “disabled.”

        In Mrs. Remer’s Appeal Letter dated May 27, 2022, we acknowledge that her last day of
full employment was September 7, 2020 (i.e., the day before her surgery). However, we also noted
that she continued to receive her regular salary following her surgery due to the expectations of
both her and her employer. As explained in the May 27, 2022, both she and her employer
anticipated that she would resume working once she was fitted with a prosthetic and had time to
adjust As set forth in the attached Forms W-2 for the 2019, 2020, and 2021 taxable years, Mrs.
Remer’s wages from the University of Toledo were as follows:


                      Tax Period                         Form W-2 Box 1 Wages
                     2019 Tax Year                               $41,488.71
                     2020 Tax Year                               $40,581.36
                     2021 Tax Year                               $39,864.98




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       Thus, Mrs. Remer did not experience a twenty percent (20%) or greater loss in her monthly
earnings in 2020 or 2021 . In fact, Mrs. Remer continued to receive her salary from the University
of Toledo until January 2022.

       As a result, Mrs. Remer did not meet both Policy conditions outlined above on September
8, 2020. Therefore, under the facts as presented in both the appeal letter and this Request for
Reconsideration, Mrs. Remer cannot be considered “disabled” under the Policy on September 8,
2020. While she did not work on that date, she never experienced a drop in her monthly earnings.
Additionally, that also means that the claim deadline in this case cannot be September 8. 2021. As
outlined above, this determination is completely inconsistent with the terms of the Policy and, as
discussed below, potentially constitutes bad faith under Ohio insurance law.

Ohio “Bad Faith” Insurance Law


       Under Ohio insurance law, “an insurer has a duty to act in good faith in the handling and
payment of the claims of its insured.” Hoskins v. Aetna Life Ins. Co., 6 Ohio St. 3d 272; Little v.
UNUMProvident Corp., 196 F. Supp. 2d 659, 666 (S.D. Ohio 2022). “An insurer breaches this
duty when its failure to perform under the contract 'is not predicated upon circumstances that
furnish a reasonable justification therefore.” Berkshire Life Ins. Co. ofAmerica v. John D. Dorsky,
178 F. Supp. 3d 625, 634 (N.D. Ohio, Eastern Division 2016), quoting Zappo v. Homestead Inc.
Co., 71 Ohio St. 3d 552, 644 N.E. 2d 397, 400 (2012). “In sum, the question of bad faith rests on
whether the insurer’s conduct was unreasonable under the circumstances.” Smith v. Great-West
LifeAssur. Co. 2012 WL 1085521, 2012 U.S. Dist. LEXIS 45559 (S.D. OH 2012).


        As established above, the terms of the Policy require two (2) conditions be met before
determining a date of disability. Further, and as also set forth above, Mrs. Remer did not meet one
of those conditions on September 8, 2020. Therefore, that date cannot be her disability onset date.
That also means her claims deadline cannot be September 8, 2021. When an insurer ignores the
terms of its own policy it is acting unreasonably.


Conclusion


        As outlined above, Unum’s decision to both deny Mrs. Remer’s claim, and to uphold the
original determination on appeal, on the grounds that the claim was not timely filed is incorrect
and contrary to the terms of the Policy. Accordingly, we request that Unum reconsider its
determination based on the discussion above and documentation attached hereto. As noted in our
appeal letter, we believe Mrs. Remer’s claim was timely filed and respectfully request that Unum
review the claim under the terms of the Policy.




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                                          Sincerely,


                                          Allotta | Farley Co. L.P.A.




Enclosure(s)




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                               a Employee's soda! security                                      This Information Is being tarnished to the Internal Revenue Service. If you
                               number                                                           are required to Hie a tax return, a negligence penalty or other sanction
                              1275-82-4422                                OMB No. 1545-0008     may be Imposed on you If this Income to taxable and you foil to report It
b Employer identification number (EIN)                                                  1 Wages, tips, other compensation                       2 Federal Income tax withheld
XX-XXXXXXX                                                                                                                           41488.71                                 4391.34

c Employer's name, address, and ZIP code                                                3 Social security wages                                 4 Social security tax withheld
The University of Toledo
2801 W. Bancroft Sb
Itaedo OH 43606
                                                                                        S Medicare wages and tips                               6 Medicare tax withheld
                                                                                                                                     49170.21                                    712.97

                                                                                        7 Social security tips                                  8 Allocated tips


d Control number                                                                                                                                10 Dependent care benefits
2579


e Employee's first name and Initial          Last name                      Suff.       11 Nonqualified plans                                   12 See Instructions for box 12
AmyL                                         Remer                          MA,                                                                 C                               86.24
                                                                                                                                                DD                           25104,72

118 Crabapple Dr                                                                        13 Statutory        Retirement    Third-party
                                                                                           employee         plan          sick pay
Swanton OH 43558-8411
                                                                                              [ ]           [X]           [   ]
f Employee's address and ZIP code
                                                                                        14 Other



15 State   Employer's state ID number        16 State wages, tips, etc.      17 State Income tax       18 Local wages, tips, etc.     19 Local Income tax          20 Locality name
OH         513197038                                             41488.71                     970.07                       49170.21                   1106.39hb1edo
                                                                                                                          49170.21                     737.54 Swanton



Form W-2 Wage and Thx Statement                                              2019                                             Department of Treasury - Internal Revenue Service
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                              a Employee's social security                                   This Information Is being furnished to the Internal Revenue Service. If you
                              number                                                         are required to file a tax return, a negligence penalty or other sanction
                              I27S-82-4422                            OMB No. 1545-0008       may be Imposed on you if this Income Is taxable and you fell to report It.
b Employer Identification number (EIN)                                                 1 Wages, Ups, other compensation                       2 Federal Income tax withheld
34*6401483                                                                                                                         40581.36                                4411.03


c Employer's name, address, and ZIP code                                               3 Social security wages                                4 Social security tax withheld
The University of Toledo
2801 W. Bancroft St.
Toledo OH 43606
                                                                                       5 Medicare wages and tips                              6 Medicare tax withheld
                                                                                                                                   48321.86                                 700.67


                                                                                       7 Social security tips                                 B Allocated tips



d Control number                                                                                                                              10 Dependent care benefits
2338


e Employee's first name and Initial          Last name                    Suff.        11 Nonqualified plans                                  12 See Instructions for box 12
Amy L                                        Remer                        MA,                                                                 C                             89.12
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                                                                                       13 Statutory      Retirement    Third-party
118 Crabapple Dr
                                                                                          employee       plan          sick pay
Swanton OH 43558-8411
                                                                                          [ ]            [X]           [   ]

f Employee's address and ZIP.code
                                                                                       14 Other



15 State   Employer's state ID number        16 State wages, tips, etc.     17 State Income tax   18 Local wages, tips, etc.  19 Local Income tax   20 Locality name
OH         513197038                                             40581.36                  952.25                    48321.86               1087.19 Toledo

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Form W-2 Wage and "fox Statement                                            2020                                               Department of treasury - Internal Revenue Service
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                               a Employee's social security                                     This Information Is being furnished to the Internal Revenue Service. If you
                               number                                                           are required to Hie a tax return, a negligence penalty or other sanction
       ’                      {XXX-XX-XXXX                                0MB No. 1545-0008     may be Imposed on you If this income to taxable and you fall to report It,
b Employer Identification number (EIN)                                                  1 Wages, tips, other compensation                        2 Federal Income tax withheld
XX-XXXXXXX                                                                                                                            39864.98                                4343.15

c Employer's name, address, and ZIP code                                                3 Social security wages                                  4 Social security tax withheld
fhe University of Toledo
2801 W. Bancroft St.
Toledo OH 43606
                                                                                        S Medicare wages and tips                                6 Medicare tax withheld
                                                                                                                                      47369.42                                    686.86

                                                                                        7 Social security dps                                    8 Allocated dps


d Control number
                                                                                                                                                 10 Dependent care benefits
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e Employee's first name and Initial           Last name                     Suff.       11 Nonqualified plans                                    12 See Instructions for box 12
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                                                                                        13 Statutory        Retirement    Third-party
116 Crabapple Dr
Swanton OH 43558-8411                                                                      employee         plan           sick pay
                                                                                           [ J              [X]            [   I
t Employee’s address and ZIP code
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IS State   Employer's state ID number        16 State wages, tips, etc.      17 State Income tax       18 Local wages, tips, etc.      19 Local Income tax         20 Locality name
OH         513197038                                             39864.98                     934.67                       47369.42                    1184.26hbledo
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Form W-2 Whge and Tax Statement                                              2021                                              Department of Treasury - Internal Revenue Service




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              Unum
              APPEALS UNIT
              PO BOX 9548
              PORTLAND. ME 04104-5058




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        IWI        JEREMY RODRIQUEZ
                   PRESTON BLDG 3240 LEVIS COMMOM BLVD
                   PERRYSBURG OH 43551




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Unum
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Appeals Unit
PO Box 9548
Portland, ME 04104-6058
                                                                                                            unurir
Phone: 1-WD-658-6843
Fax: 207-675-2354
www.unum.com
                                                                                                            August 11, 2022




JEREMY RODRIGUEZ
ALLOTTA FARLEY, CO. LPA
PRESTON BLDG 3240 LEVIS COMMOM BLVD
PERRYSBURG, OH 43551




RE:       Remer, Amy L
          Claim Number:                      21 1 03779
          Policy Number:                     953733
          Unum Life Insurance Company of America




We received your letter of August 1 0, 2022. This letter will serve as a response.                          -

We acknowledge that Ms. Remer was receiving salary continuation from her employer after her
                                                                                                                                  §
arm amputation and that she would resume working after she was fitted with a prosthetic and
had time to adjust. However, the earnings she received were not the result of performing her
occupational duties. Ms. Remer's disability began when she was unable to perform the material
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and substantial duties of her occupation as of September 08, 2020, which Is the date we                                           §
                                                                                                                                  IS
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determined her disability began.

We did not complete a disability evaluation as part of our review of Ms. Remer's claim. Our
review evaluated whether Ms. Remer's claim was filed within the specified period outlined in the
provisions of the policy. Based on our review, Ms. Remer's written proof of claim was submitted
after the policy deadline. She filed her claim on April 08, 2022, and this date was not within one
year of her disability that occurred on September 08, 2020.

The Information you provided does not alter our prior appeal decision. Please refer to our
appeal determination of June 10, 2022, which remains unchanged.

Mr. Rodrlguez, If you have any questions, please feel free to contact me at 1-800-858-6843,
extension 48086.

Sincerely,



T                   13

Teresa B Ward
Lead Appeals Specialist




1242-03   UNUM 19 A REGISTERED TRADEMARK AND MARKETING BRAND OF UNUM GROUP AND ITS INSURING SUBSIDIARIES.
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Claimant Name: Remer, Amy L                                       August 11, 2022
Claim Number 21103770                                                   Page 2 of 2




Enclosures:       -Claimant: Appeal




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